    0:17-cv-02094-JMC        Date Filed 01/06/21      Entry Number 277      Page 1 of 52




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               ROCK HILL DIVISION

Lawrence Butler, Lakeisha Darwish, and      )
Jimi Che Sutton,                            )
                                            )
                                            )       Civil Action No.: 0:17-cv-02201-JMC
                       Plaintiffs,          )
                                            )             ORDER & OPINION
                                            )
        v.                                  )
                                            )
                                            )
Fluor Corporation and Fluor Enterprises,    )
Inc.,                                       )
                                            )
                       Defendants.          )
____________________________________)
                                            )
Harry Pennington, III and Timothy Lorentz, )
individually and on behalf of all those     )
similarly situated,                         )
                                            )
                                            )       Civil Action No.: 0:17-cv-02094-JMC
                       Plaintiffs,          )
                                            )
        v.                                  )
                                            )
                                            )
Fluor Corporation, Fluor Enterprises, Inc., )
Fluor Daniel Maintenance Services, Inc.,    )
SCANA Corporation, and South Carolina       )
Electric & Gas Company,                     )
                                            )
                       Defendants.          )
____________________________________)

       Pending before the court are Motions for Summary Judgment by Defendant Fluor (ECF

Nos. 189 (Butler); 233 (Pennington)), Defendant SCANA (ECF Nos. 192 (Butler); 236

(Pennington)), and the above-captioned Plaintiffs, both individually and on behalf of all those




                                                1
    0:17-cv-02094-JMC          Date Filed 01/06/21      Entry Number 277         Page 2 of 52




similarly situated (ECF Nos. 191 (Butler); 235 (Pennington)).1 The central issue of these Motions

is which Defendants, if any, should have provided notice under the Worker Adjustment and

Retraining Notification Act, 29 U.S.C. § 2101 et seq. (“WARN”), after SCANA abruptly

terminated the construction of two multi-billion dollar nuclear reactors that led to the layoff of

thousands of workers with no advanced warning.2

       The Motions have been fully briefed and are ripe for consideration. Specifically, Plaintiffs

have filed Responses (ECF Nos. 203, 206) and Replies (ECF Nos. 210, 212) to Defendants’

Motions for Summary Judgment. Defendants have likewise responded in opposition to Plaintiffs’

Motion for Summary Judgment. (See ECF Nos. 200, 204, 208, 215). SCANA also filed a short

Brief in Response to Fluor’s Motion for Summary Judgment. (ECF No. 202.) Moreover, non-party

Associated Builders and Contractors, Inc. filed an Amicus Brief (ECF No. 199), to which Plaintiffs

filed a Brief in Response (ECF No. 214).3 Plaintiffs also filed a supplement asking the court to

take judicial notice of the Information and Plea Agreement of Kevin B. Marsh, SCANA’s former

CEO, who intends to plead guilty in a criminal matter related to the underlying facts of this case.

(ECF No. 219.) Defendants filed Briefs in Response (ECF Nos. 221, 227), to which Plaintiffs

replied (ECF No. 232).




1
  The term “Fluor” as used throughout this Order refers to Fluor Corporation, Fluor Enterprises,
Inc., and Fluor Daniel Maintenance Services, Inc. The term “SCANA” refers to both SCANA
Corporation and South Carolina Electric & Gas Company. Moreover, ECF citations in this Order
refer to entries in Butler v. Fluor Corp., C/A No. 0:17-cv-2201-JMC unless otherwise indicated.
Citations to transcripts refer to the transcript’s original pagination, rather than the pagination
generated by ECF.
2
  The court sua sponte consolidated Butler v. Fluor Corp., C/A No. 0:17-cv-2201-JMC, and
Pennington v. Fluor Corp., C/A No. 0:17-cv-02094-JMC, and each case covers the same class of
eligible individuals. (ECF Nos. 43, 79 (Pennington).) The court allowed counsel from both cases
to remain in the case, and the court did not segregate any of Plaintiffs to any class of lawyers.
3
  Relatedly, given the voluminous record in the case, the parties rely upon various exhibits, briefs,
and other materials found in the following entries: ECF Nos. 189-193, 199-215, 219, 221.
                                                 2
     0:17-cv-02094-JMC          Date Filed 01/06/21      Entry Number 277     Page 3 of 52




        For the reasons below, the court GRANTS Fluor’s Motion for Summary Judgment (ECF

Nos. 189 (Butler); 233 (Pennington)), GRANTS SCANA’s Motion for Summary Judgment (ECF

Nos. 192 (Butler); 236 (Pennington)), DENIES Plaintiffs’ Motion for Summary Judgment (ECF

Nos. 191 (Butler); 235 (Pennington)), DENIES Plaintiffs’ Request to Supplement (ECF Nos. 219

(Butler); 263 (Pennington)), and DISMISSES the case with prejudice.

                                           I. BACKGROUND4

        In 2008, SCANA contracted with Westinghouse Electric Company LLC (“WEC”) to build

two nuclear reactors at the V.C. Summer Nuclear Station in Jenkinsville, South Carolina

(“Project”). (ECF No. 114 at 6 ¶ 31 (Pennington).) The Project, along with one other unrelated

nuclear reactor site in Georgia, “represent[ed] the first new generation of nuclear power plant

construction in the United States in 30 years.” (Id. ¶ 32 (Pennington).) SCANA owned the Project

site and facilities. (Id. at 5 ¶ 25 (Pennington).)

        The contract between SCANA and WEC took the form of an Engineering, Procurement,

and Construction Agreement (“EPC Agreement”). (ECF Nos. 114 at 6 ¶ 31 (Pennington); 193 at

3.) “Under the EPC Agreement, WEC was generally responsible for the design, manufacture, and

procurement of the nuclear reactor, steam turbines, and generators[.]” (ECF Nos. 41 at 5 ¶ 34

(Pennington); 114 at 6 ¶ 34 (Pennington).) In January of 2016, WEC hired Fluor as a subcontractor

to “employ craft employees on the [P]roject and t[a]ke responsibility for management of on-site

construction while [WEC] remained responsible for designing, engineering, construction, and

project management.” (ECF No. 114 at 7 ¶ 37 (Pennington).) Later in 2016, WEC asked Fluor to

complete a cost analysis to determine the cost of completing the Project based on WEC’s current




4
  The following facts are undisputed for the purposes of the pending Motions for Summary
Judgment unless otherwise indicated.
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    0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277        Page 4 of 52




schedule. (ECF Nos. 68 at 4 ¶ 41(Pennington); 114 at 7 ¶ 41 (Pennington).) This Estimate to

Completion (“ETC”) cost analysis allegedly found the Project would cost several billion dollars

more than previously anticipated, for which WEC would be liable. (ECF No. 41 at 8 ¶ 42

(Pennington).)

       Subsequently, the financial health of WEC deteriorated to the point that, on March 29,

2017, WEC filed for bankruptcy protection under Chapter 11 of Title 11 of the United States

Bankruptcy Code in the Southern District of New York. (ECF Nos. 41 at 8 ¶ 45 (Pennington); 68

at 5 ¶ 45 (Pennington); 114 at 8 ¶ 45 (Pennington).) Shortly thereafter, SCANA and WEC entered

into an Interim Assessment Agreement (“IAA”), which stated the parties remained obligated to

continue performing work under the EPC Agreement and that going forward, SCANA would pay

Fluor, among other things. (ECF Nos. 114 at 8 ¶ 46 (Pennington); 192-5.) WEC continued as the

on-site contractor for the Project. (See ECF No. 114 at 9 ¶ 53 (Pennington).) The United States

Bankruptcy Court approved the IAA. (See ECF No. 192-5.) Plaintiffs contend SCANA began

taking a more active role at the Project after WEC’s bankruptcy such that it essentially became a

single employer with its contractors under the WARN Act.5 (ECF No. 193 at 3-4.)

       On July 31, 2017, SCANA stopped all construction at the Project. (ECF Nos. 41 at 17 ¶ 95

(Pennington); 68 at 8 ¶ 95 (Pennington); 114 at 15 ¶ 95 (Pennington).) As a result of this decision,

it appears that approximately 5,000 workers were impacted who had been working and/or

receiving assignments at the Project.6 (See id.) It is undisputed that SCANA alone ordered the

Project’s closure and gave no advanced warning to Fluor. (ECF No. 205 at 35.)



5
  Given the voluminous record in this case, the court thoroughly outlines and examines the facts
below for this fact-intensive inquiry.
6
  After the Project’s closure, Fluor allegedly continued to pay (or returned to work within six
months) 1,200 employees, while WEC did the same for 200 of its direct employees. (ECF Nos.
192-1 at 9; 192-22.) The remaining 3,600 workers were purportedly laid off.
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     0:17-cv-02094-JMC        Date Filed 01/06/21       Entry Number 277         Page 5 of 52




       As a result of the foregoing, Plaintiffs filed a putative class action Complaint in this court

against Defendants in August 2017, alleging a violation of the WARN Act. (ECF Nos. 1, 41

(Pennington).) Plaintiffs contend SCANA, WEC, and Fluor, which comprise a total of six

different entities, essentially all acted as a single employer under the WARN Act and knowingly

failed to give their employees at least 60 days’ prior notice of termination of their employment as

required by the WARN Act. (ECF No. 41 (Pennington).) Plaintiffs further argue Fluor should not

escape liability under the WARN Act because the shutdown was reasonably foreseeable. (ECF

No. 1 at 7 ¶ 33.)

                                        II. JURISDICTION

       This court has jurisdiction over Plaintiffs’ cause of action under the WARN Act via 28

U.S.C. § 1331, as it arises under a law of the United States, and also via 29 U.S.C. § 2104(a)(5),

which empowers district courts to hear claims alleging violations of the WARN Act.

                                     III. LEGAL STANDARD

   A. Summary Judgment

       Summary judgment should be granted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” FED. R.

CIV. P. 56(a). A fact is “material” if proof of its existence or non-existence would affect the

disposition of the case under the applicable law. Anderson v. Liberty Lobby Inc., 477 U.S. 242,

248-49 (1986). A genuine question of material fact exists where, after reviewing the record as a

whole, the court finds that a reasonable jury could return a verdict for the nonmoving

party. Newport News Holdings Corp. v. Virtual City Vision, 650 F.3d 423, 434 (4th Cir. 2011).

       In ruling on a motion for summary judgment, a court must view the evidence in the light

most favorable to the non-moving party. Perini Corp. v. Perini Constr., Inc., 915 F.2d 121, 123-



                                                 5
     0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277         Page 6 of 52




24 (4th Cir. 1990). The non-moving party may not oppose a motion for summary judgment with

mere allegations or denial of the movant’s pleading, but instead must “set forth specific facts”

demonstrating a genuine issue for trial. FED. R. CIV. P. 56(e); see Celotex Corp. v. Catrett, 477

U.S. 317, 324 (1986); Anderson, 477 U.S. at 252 (1986); Shealy v. Winston, 929 F.2d 1009, 1012

(4th Cir. 1991). All that is required is that “sufficient evidence supporting the claimed factual

dispute be shown to require a jury or judge to resolve the parties’ differing versions of the truth at

trial.” Anderson, 477 U.S. at 249.

        “When considering motions from both parties for summary judgment, the court applies the

same standard of review and so may not resolve genuine issues of material fact.” Monumental

Paving & Excavating, Inc. v. Pa. Mfrs.’ Ass’n Ins. Co., 176 F.3d 794, 797 (4th Cir. 1999) (citation

omitted). “Instead . . . [the court] consider[s] and rule[s] upon each party’s motion separately and

determine[s] whether summary judgment is appropriate as to each under the Rule 56 standard.”

Id. (citation omitted).

    B. The WARN Act Generally

        The passage of the WARN Act came about during a difficult time for America’s workers.

In 1987, Bureau of Labor statistics reflected that

        during the five-year period 1981-1986, over 11 million workers lost their jobs under
        circumstances suggesting that they would not get them back. Many of these workers
        had considerable job experience--5.1 million had worked a minimum of three years
        in their former jobs. Half of the latter group had worked six or more years.

Marisa Anne Pagnattaro, The Perils of Control: Affiliated Liability Under the Warn Act, 41 AM.

BUS. L.J. 313, 317-19 (2004). “[T]he House of Representatives Committee on Education and

Labor report acknowledged that the ‘adverse effects of a plant closure or mass layoff usually are

not limited to the displaced workers and their families . . . [t]he domino or ripple effect of a plant




                                                  6
    0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277         Page 7 of 52




closing has been well documented.’” Id. (citation omitted). Congress addressed this problem with

the WARN Act, which one United States Senator described as exemplifying

       a very simple and understandable American value, and that is the American value
       of fairness, fairness to men and women who have devoted in many instances their
       lifetime to a particular corporation, a particular business, and a particular industry
       and deserve more than a pink slip at the end of a Friday afternoon to indicate to
       them that their lives will be disrupted . . . in ways that, of course, could have been
       predictable but because of the decision that was made by American business they
       would not receive the benefit of adequate notification.

Id. at 318 (citing 100 CONG. REC. S. 16671 (daily ed. July 6, 1988) (statement of Sen. Kennedy)).

The WARN Act ultimately took effect in 1989 and has “been consistently recognized as a remedial

statute which must be construed broadly to protect workers.” Id. at 318-19 (citation omitted).

       The United States Court of Appeals for the Fourth Circuit has likewise explained the

WARN Act “provide[s] notice of sudden, significant employment loss so that workers [can] seek

alternative employment and their communities c[an] prepare for the economic disruption of a mass

layoff.” Meson v. GATX Tech. Servs. Corp., 507 F.3d 803, 808 (4th Cir. 2007) (citing Bader v. N.

Line Layers, Inc., 503 F.3d 813 (9th Cir. 2007); 20 C.F.R. § 639.1(a) (1989)).

       The crux of the WARN Act states “[a]n employer shall not order a plant closing or mass

layoff until the end of a 60-day period after the employer serves written notice of such an order”

to its employees. 29 U.S.C. § 2102(a). “An employer who fails to provide this notice is liable to

each affected employee for backpay, benefits, and attorney’s fees.” Meson, 507 F.3d at 808 (citing

29 U.S.C. § 2104(a)).

       Who is an “employer” under the WARN Act? For one, the employer must order the plant

closure or mass layoff. See McKinney v. Carlton Manor Nursing & Rehab. Ctr., Inc., 868 F.3d

461, 463 (6th Cir. 2017) (“Only ‘employers’ that ‘order’ a plant closing face regulation by the

[WARN] Act or liability under it.”); Deveraturda v. Globe Aviation Sec. Servs., 454 F.3d 1043,



                                                 7
    0:17-cv-02094-JMC          Date Filed 01/06/21      Entry Number 277         Page 8 of 52




1049 (9th Cir. 2006) (“The critical inquiry is not what entity employed the affected employees at

the time of the layoff; rather, it is who ordered the layoff to occur.”); Hotel Emps. and Rest. Emps.

Int’l Union Local 54 v. Elsinore Shore Assocs., 173 F.3d 175, 187 (3d Cir. 1999) (Alito, J.,

concurring) (“[The WARN Act’s] language is straightforward and clear—the WARN Act applies

only when an “employer” orders a plant closing—and where, as here, the statutory language is

unambiguous and does not demand an absurd result, the sole function of a court is to enforce the

statute according to its terms); Flowers v. Here to Serve Rests., Inc., 2016 WL 8792243, at *2

(N.D. Ga. 2016); Holliday v. MVM, Inc., No. CV 08-07924-DMG, 2011 WL 13186050, at *7

(C.D. Cal. Mar. 2, 2011) (“The key question under . . . Ninth Circuit precedent . . . is who ordered

the plant closing. Given that the government made the decision to close the [immigration

processing facility] and Defendant[, a security contractor,] merely responded to this order by

laying off its employees who worked there, the Court finds as a matter of law that the WARN Act

does not apply.”); but see Halkias v. General Dynamics Corp., 137 F.3d 333, 336-37 (5th Cir.

1998) (explaining a defense contractor’s mass layoff at its own facility, after the U.S. Government

cancelled a large contract for A-12 planes, invoked the WARN Act, but regardless the contract

cancellation was an unforeseeable business circumstance (emphasis added)); Loehrer v.

McDonnell Douglas Corp., 98 F.3d 1056, 1062-63 (8th Cir. 1996) (similar).

       Moreover, by statute, a WARN employer “means any business enterprise that employs”

100 or more full-time employees or part-time employees that work at least 4,000 hours per week.

29 U.S.C. § 2101(a)(1) (emphasis added). The term “business enterprise” is undefined, suggesting

a WARN “employer” may in fact constitute more than one company.7



7
 SCANA complied with the WARN Act for its direct employees but did not provide any advanced
notice of the Project’s termination to employees of WEC and Fluor. (See ECF No. 114 at 14 ¶ 94-
95 (Pennington).) SCANA “complied” with the WARN Act’s notice requirement by providing 60
                                                 8
    0:17-cv-02094-JMC           Date Filed 01/06/21    Entry Number 277        Page 9 of 52




       The WARN Act’s regulations expound that “[u]nder existing legal rules, independent

contractors and subsidiaries which are wholly or partially owned by a parent company are treated

as separate employers or as a part of the parent or contracting company depending upon the degree

of their independence from the parent.” 20 C.F.R. § 639.3(a)(ii)(2) (1989). Thus, the WARN Act’s

regulations contemplate an independent contractor being held liable under the WARN Act in

certain circumstances.

       Determining whether two affiliated companies amount to a single WARN employer has

been a disorganized, complex, and sometimes contradictory area of law, as various courts have

applied numerous tests to determine whether two corporations comprise a single, liable entity. See,

e.g., Pearson v. Component Tech. Corp., 247 F.3d 471, 483 (3d Cir. 2001) (compiling cases).

Given these difficulties, the Third Circuit in Pearson—a seminal decision upon which all parties

rely heavily—proclaimed that simply applying the five factors delineated in the WARN Act

(“DOL Factors”) is the best course when determining single employer liability under the WARN

Act. Id. at 495-96. This court observes the Fourth Circuit has not provided specific guidance

regarding which standard a district court should use to evaluate single employer status under the

WARN Act. Nevertheless, the court agrees with the persuasive reasoning in Pearson and applies

the DOL Factors in this case.

       The DOL Factors outlined in the WARN Act’s regulations examine subsidiary or

independent contractor liability with its parent or contracting company by scrutinizing: “(i)




days of compensation to its direct employees beginning on the date of the Project’s closure on July
31, 2017, which is one way to avoid liability under the WARN Act after failing to give advanced
notice of a mass layoff or plant closing. See also Long v. Dunlop Sports Grp. Americas, Inc., 506
F.3d 299, 303-04 (4th Cir. 2007) (explaining that if an employer closes a plant without notice, it
may nonetheless avoid WARN liability by thereafter providing 60 days of compensation to its
employees).
                                                9
    0:17-cv-02094-JMC          Date Filed 01/06/21       Entry Number 277          Page 10 of 52




common ownership, (ii) common directors and/or officers, (iii) de facto exercise of control, (iv)

unity of personnel policies emanating from a common source, and (v) the dependency of

operations” 20 C.F.R. § 639.3(a)(ii)(2). The DOL Factors in essence seek to determine whether

two (or perhaps more) affiliated corporations or entities acted as a “single employer” to invoke

WARN liability.8 Pearson, 247 F.3d at 490-91 (noting the DOL Factors “are a non[-]exhaustive

list”). “As in any balancing test, application of these factors requires a fact-specific inquiry, no one

factor set out by the DOL is controlling, and all factors need not be present for liability to attach.”

Guippone v. BH S & B Holdings LLC, 737 F.3d 221, 226 (2d Cir. 2013).

       Yet the application of the DOL Factors does not end this case’s complications. The vast

majority of cases applying the DOL Factors involve parents and their subsidiaries, or as in

Pearson, a lender-borrower relationship that functioned as a parent-subsidiary relationship. Many

of these cases are examined further below. As one might expect, the parties vigorously argue these

cases are distinguishable in varying contexts. Cases involving contractors are likewise not

particularly congruous to the instant matter as further discussed infra. Moreover, the parties, the

non-party Amicus Brief, and the court have not identified any case imposing single employer

liability on the principal client9 and its subcontractor in the construction industry.

                                             IV. ANALYSIS

       This case revolves around whether independent contractors at the Project may be “treated

. . . as a part of” SCANA, the “contracting company.” 20 C.F.R. § 639.3(a)(ii)(2). If so, both



8
  Although the term “single employer” does not appear in the text of the WARN Act or its
regulations, the DOL Factors “were adapted from other [various] tests developed for intercorporate
liability[.]” Pearson, 247 F.3d at 491.
9
  The court uses the terms “principal client” or “contracting company” throughout the Order largely
in relation to SCANA’s role in the instant case. As noted above, SCANA, as the principal client
and contracting company, hired WEC to be a contractor on the Project. WEC in turn hired Fluor
as a subcontractor.
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     0:17-cv-02094-JMC       Date Filed 01/06/21      Entry Number 277        Page 11 of 52




SCANA and Fluor may well be liable as a single employer for failing to give 60 days’ notice of

the Project’s closure. The court begins with an analysis of whether SCANA and its contractors

amounted to a single employer under the WARN Act’s DOL Factors. The court thereafter

examines Fluor’s liability as a separate employer under the WARN Act, reviews Plaintiffs’ request

for the court to take judicial notice of certain documents, and concludes with a brief examination

of policy considerations.

     A. WARN Act Single Employer Liability Under the DOL Factors10

        Defendants posit the DOL Factors are wholly inapplicable to contractors, as the DOL

Factors “clearly require some form of [shared] ownership.”11 (ECF No. 215 at 11.) SCANA further

asserts that as a threshold matter, two entities must be “highly integrated” regarding their




10
   The court observes that, since its denial of SCANA’s Motion to Dismiss and the substantial
progression of discovery, many of Plaintiffs’ allegations have been proven untrue, which in turn
impacts the court’s analysis of the DOL Factors. (See ECF No. 109 (Pennington).) Additionally,
SCANA stresses that after discovery, Plaintiffs have shifted the basis of their theory of single
employer liability. Initially Plaintiffs claimed SCANA implemented an owner-directed model after
WEC’s bankruptcy which made SCANA a single WARN employer with its contractors. Now,
however, Plaintiffs point to SCANA’s actions before implementing an owner-directed model,
including compliance with the EPC Agreement and other regulations, and actions beyond the EPC
Agreement that established single employer liability. Yet SCANA asserts this theory of liability is
not pleaded in the Amended Complaint. (ECF No. 41 (Pennington).) The court observes that, post
discovery, it is now undisputed SCANA never implemented an owner-directed model at the
Project. Further, the Amended Complaint contains allegations that “SCANA began taking
ownership of operational decision-making to give effect to the owner-directed model.” (Id. at 11 ¶
62 (Pennington) (emphasis added).) Although such allegations, including those concerning the
EPC Agreement, are sparse, the court finds the pleading contains sufficient allegations to support
Plaintiffs’ claims.
11
   Fluor relatedly contends the DOL Factors are not applicable and, instead, the court should apply
more traditional tests regarding alter ego and veil piercing. Yet the court finds this argument
without merit as it previously rejected this claim in its Order denying Defendants’ Motion to
Dismiss. (ECF No. 109 at 10 (Pennington).) Moreover, applying the DOL Factors appears “the
most prudent course” for WARN Act claims given the historical complexities and difficulties in
this area of the law, as well as because the factors “were created with WARN Act policies in mind
and . . . focus particularly on the circumstances relevant to labor law.” Pearson, 247 F.3d at 489-
90.
                                                11
    0:17-cv-02094-JMC        Date Filed 01/06/21      Entry Number 277         Page 12 of 52




ownership and operation. (Id. at 12.) Pearson does indeed mention it is necessary to prove the

DOL Factors of ownership and operations between two entities. 247 F.3d at 505 (“The DOL

[F]actors, like the integrated enterprise test, require that two corporations be ‘highly integrated

with respect to ownership and operations’ before they will be considered a single employer for

WARN Act purposes.”). Yet as subsequent cases have noted, “the Pearson court observed that ‘a

number of facts and circumstances may be relevant’ when applying the ‘balancing test’ of 20

C.F.R. § 639.3(a)(2).” Likes v. DHL Express, No. 2:10-CV-2989-VEH, 2011 WL 13230347, at *5

(N.D. Ala. July 26, 2011) (quoting Pearson, 247 F.3d at 490). “Therefore, Pearson implicitly

supports [the] position that the mere absence of an allegation about shared corporate ownership

does not automatically render a WARN unified employer claim fatally flawed[.]” Id. In the same

vein, at least one court has declined to impose this threshold standard of high integration when

examining a contractor’s relationship with its contracting company. See Administaff Companies,

Inc. v. New York Joint Bd., Shirt & Leisurewear Div., 337 F.3d 454, 457 (5th Cir. 2003) (noting

the shared ownership and shared officers or directors factors were “not at issue” in that case, and

completing an analysis under the remaining DOL Factors). Moreover, given the specific reference

to “independent contractors” in the WARN Act, the court finds it unlikely that the DOL Factors

require some threshold showing of ownership, as it seems a contracting company would rarely, if

ever, possess an ownership interest in an independent contractor. Consequently, the court turns to

examine each of the five DOL Factors to determine whether SCANA and Fluor were a single

employer under the WARN Act.

       (1) Common Ownership

       The common ownership factor “inquires as to whether a parent or related entity directly

owns a separate corporate entity.” Guippone v. BH S & B Holdings LLC, No. 09-CV-1029-CM,



                                                12
    0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277         Page 13 of 52




2010 WL 2077189, at *4 (S.D.N.Y. May 18, 2010) (citing Vogt v. Greenmarine Holding, LLC,

318 F. Supp. 2d 136, 140 (S.D.N.Y. 2004)). Upon review, the court observes there are no

allegations in the Amended Complaint that SCANA has a direct ownership interest in WEC or

Fluor.

         Instead, Plaintiffs allege that SCANA had “financial control” over Fluor and WEC that

amounted to common ownership because SCANA owned “the Project and its jobs.” (ECF No. 193

at 44.) Yet neither of the cases Plaintiffs rely upon to prove this innovative theory of “financial”

ownership go so far as to state that mere ownership of a job site may amount to common ownership

of an independent contractor. See Pearson, 247 F.3d at 497; In re Tweeter OPCO, LLC, 453 B.R.

534, 542 (Bankr. D. Del. 2011). The court likewise declines to do so. Accordingly, even

considering this factor in the best light toward Plaintiffs, the common ownership factor does not

favor Plaintiffs. See Administaff, 337 F.3d at 457.

         (2) Common Directors and/or Officers

         The common directors and/or officers factor “ordinarily looks to whether the two

nominally separate corporations: (1) actually have the same people occupying officer or director

positions with both companies; (2) repeatedly transfer management-level personnel between the

companies; or (3) have officers and directors of one company occupying some sort of formal

management position with respect to the second company.” Pearson, 247 F.3d at 497. “Plaintiffs

do not allege that SCANA, WEC[,] and Fluor shared common officers.” (ECF No. 193 at 45.)

Plaintiffs further claim this factor is immaterial because this case does not involve parents or

subsidiaries. (Id.) Thus, the court finds that this factor does not favor Plaintiffs. See Administaff,

337 F.3d at 457.




                                                 13
     0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277        Page 14 of 52




       (3) De Facto Control

       Defining the de facto control factor in this case is vital to each party’s claims. On the one

hand, de facto control in the context of a relationship between a principal contracting client and its

contractor has sometimes turned on “whether the business in question has specifically directed the

allegedly illegal employment practice that forms the basis for the litigation.” Administaff, 337 F.3d

at 457-58 (citing Pearson, 247 F.3d at 491). This so-called “decision maker” rule, which was

created in Pearson, has generally only otherwise been applied when reviewing parent-subsidiary

or lender-borrower relationships.12 See, e.g., Garner v. Behrman Bros. IV, LLC, 260 F. Supp. 3d

369, 378 (S.D.N.Y. 2017); Rangel v. Cardell Cabinetry, LLC, No. SA-13-CA-843, 2014 WL

12540718, at *4 (W.D. Tex. Jan. 17, 2014); Lace v. Fortis Plastics, LLC, No. 3:12-CV-363 JD

CAN, 2013 WL 5407194, at *6 (N.D. Ind. Sept. 24, 2013); Young v. Fortis Plastics, LLC, No.

3:12-CV-364 JD CAN, 2013 WL 5406276, at *6 (N.D. Ind. Sept. 24, 2013); Guippone v. BH S &

B Holdings, LLC, No. 09 CIV 1029 CM, 2011 WL 6288396, at *6 (S.D.N.Y. Dec. 15, 2011),

vacated on other grounds, 737 F.3d 221 (2d Cir. 2013); Pearson, 247 F.3d at 491 (citation

omitted); Vogt, 318 F. Supp. 2d at 144 (finding allegations that “parent companies made the

decision to effect a mass layoff of [the subsidiary’s] employees with no regard for the statutory

warning time” were sufficient to show the parents “disregard[ed] the separate legal personality of

[the] subsidiary in directing the subsidiary to act”).

       On the other hand, cases involving contractors, rather than parents or lenders, in some

instances have limited their review of de facto control to examining considerations such as




12
   The parties further contest the applicability of the Esmark Rule, which states that a “striking”
decision or exercise of control may warrant liability even without support from the other factors.
See Pearson, 247 F.3d at 504 (citation omitted). Yet as discussed herein, SCANA’s decision to
close the Project was insufficient, by itself, to exert control over Fluor in this specific instance.
                                                  14
     0:17-cv-02094-JMC        Date Filed 01/06/21       Entry Number 277         Page 15 of 52




managerial control; supervision of employees; how employees are paid; and how employees are

hired and fired. See Martin-Smith v. Ramcor Servs. Grp., Inc., No. 2:10-CV-00403-PMP, 2012

WL 4472036, at *5 (D. Nev. Sept. 25, 2012); Reyes v. Greater Tex. Finishing Corp., 19 F. Supp.

2d 709, 713 (W.D. Tex. 1998).

       Plaintiffs’ contentions that SCANA exerted de facto control over Fluor and WEC for single

employer WARN liability are essentially two interrelated components: SCANA’s decision to end

the Project in and of itself;13 and the allegedly high level of operational integration between

SCANA and its contractors at the job site throughout the Project. The parties dispute whether the

decision maker rule applies outside parent-subsidiary or lender-borrower relationships. And if

applicable, they further dispute whether the employment practice giving rise to this litigation was

SCANA’s decision to close the Project or Fluor’s subsequent decision not to send notice pursuant

to WARN.

       Defendants posit that Plaintiffs’ theory would make a principal client dealing at arms-

length with its independent contractor liable as a single employer under the WARN Act simply




13
   Plaintiffs attempt to distinguish several cases involving a plant closure or mass layoff wherein
no entity was liable for failing to give WARN notice within 60 days by claiming “the shutdowns
in those cases were ordered by federal or state governmental entities[.]” (ECF No. 207 at 27 n.130
(citing Deveraturda, 454 F.3d at 1048; Elsinore Shore Assocs., 173 F.3d 175; Holliday, 2011 WL
13186050).) Fluor construes this contention as Plaintiffs “stating government entities cannot be a
single employer,” which Fluor observes is incorrect. (ECF No. 209 at 7-8 n.4 (citing Holliday,
2011 WL 13186050, at *7 (“The key question . . . is who ordered the plant closing. Given that the
government made the decision to close the [plant] and defendant merely responded to this order
by laying off its employees who worked there, the Court finds as a matter of law that the WARN
Act does not apply.”)).) Fluor appears to make this point to smother any implication that, but for
the government being a principal client, Plaintiffs’ cited cases would have found WARN single
employer liability between the principal client and its contractors. It seems Plaintiffs’ assertion is
narrower in scope than Fluor suggests. Regardless, the court observes Plaintiffs’ cited cases do not
examine single employer WARN liability involving the government, and Plaintiffs otherwise offer
no single employer WARN Act cases suggesting the result would have been different if the
government had not been the principal client.
                                                 15
    0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277         Page 16 of 52




because the principal closed a job site. (ECF No. 204 at 9.) To that end, Plaintiffs retorted orally

at the December 2, 2020 motions hearing that liability between an independent contractor and its

contracting company after the latter closed a job site turned on whether “the independent contractor

had already allowed itself to be [sufficiently] integrated into the workings of the site.” (Unofficial

Tr. 102:25-103:22 (Dec. 2, 2020 motions hearing).) “Once [the entities are] in that integrated kind

of space, then, yes, you are going to be subject to liability if you do nothing when that contracting

owner shuts down[.]” (Id. at 103:18-20.) Thus, Plaintiffs at least seemed to suggest at the hearing

that SCANA’s closure of the Project alone might have been insufficient for de facto control

without adequate integration, despite arguing to the contrary in their briefing. (See ECF No. 193

at 30 (“SCANA’s furtive plant closure is, alone, sufficient grounds to hold it liable[.]”).)

       Reviewing the circumstances surrounding the Project, the non-exhaustive list of DOL

Factors, and Plaintiffs’ statements at the hearing, the court observes the issues raised by both sides

are relevant to de facto control. Thus, the court finds it prudent to examine Plaintiffs’ allegations

of SCANA’s alleged de facto control.

       The court begins by reviewing the de facto control on the job site. Plaintiffs claim

SCANA’s control “pervaded the day-to-day work over the course of the [P]roject.” (ECF No. 193

at 39.) Plaintiffs point out that, “[a]s the [Nuclear Regulatory Commission] licensee of the

[P]roject, SCANA was required by law to control WEC and Fluor.” (Id.) Specifically, “when

SCANA told WEC or Fluor that a particular condition was noncompliant, they corrected it. Every

time.” (Id. at 40.) Beyond compliance with regulations, Plaintiffs state SCANA “influenced the

sequence of construction and time-saving measures”; “considered itself responsible to oversee

WEC and Fluor’s business practices, as codified in the EPC [A]greement”; and could assign tasks

and gave directions on “how to do business” to WEC; while “contractor employees understood



                                                 16
     0:17-cv-02094-JMC        Date Filed 01/06/21      Entry Number 277        Page 17 of 52




they were to follow SCANA’s suggestions as if they were directions.” (Id. at 40-41.) Crucially,

Plaintiffs claim “SCANA’s control expanded and became more explicit” after WEC’s

bankruptcy.14 (Id. at 41.) Defendants counter that neither compliance with regulations in a highly

regulated industry nor contractual compliance with an agreement executed after arms-length

bargaining demonstrates control for single employer liability under the WARN Act in this case.

(ECF No. 204 at 4, 26-27.)

       Here, the court finds no genuine dispute that SCANA’s control of Fluor and WEC was

largely within the expected bounds of a principal client’s relationship with its hired contractor or

subcontractor. While SCANA did direct its contractors to remedy certain issues, these matters

almost always amounted to compliance within the highly regulated industry of nuclear power, as

Plaintiffs seem to admit. (ECF No. 193 at 39 (“[W]hen SCANA told WEC or Fluor that a particular

condition was noncompliant, they corrected it. Every time.”).) The court declines to find that a

principal client’s mere compliance with regulations15 or the ECP Agreement in an industry rife

with highly invasive regulations is evidence of de facto control. See also Martin-Smith, 2012 WL

4472036, at *6 (holding that “to the extent rules and regulations pertaining to the job were

identical” between two contractors, such rules “emanated from the VA’s requirements under the

contract, not from the integrated nature of the two companies”).

       Outside of regulatory or contractual compliance, numerous witnesses (including many of

Plaintiffs) agree that SCANA did not directly supervise or manage its contractors’ employees, or

direct or control how WEC and Fluor performed work at the Project. (ECF No. 192-11 at 29:20-




14
   As pled in the Amended Complaint, Plaintiffs’ claims hinge on SCANA’s interactions with
Fluor after WEC’s bankruptcy. (See ECF No. 41 (Pennington).)
15
   Such compliance efforts appear to have largely encompassed the work of SCANA’s New
Nuclear Deployment group. (ECF No. 211 at 3-4.)
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    0:17-cv-02094-JMC        Date Filed 01/06/21     Entry Number 277       Page 18 of 52




24; 40:5-17; 41:7-43:23; 61:9-62:1; & ECF No. 204-11 at 57:8-14; 67:25-68:6 (WEC employee

David Durham stating SCANA had no authority or direct control of WEC’s or Fluor’s performance

of duties or employees, and that SCANA had no role “over day-to-day construction activities at

the site” both before and after WEC’s bankruptcy)); (ECF No. 192-12 at 30:25-32:3; 33:1-35:19;

37:7-21; 53:8-17 (WEC employee William Macecevic, III stating SCANA did not “control[] the

manner and means in which the design and construction work was done and performed” by WEC

and Fluor; SCANA did not set its contractors’ employees’ work schedules; WEC completed

employee evaluations for its employees; and SCANA’s relationship with its contractors did not

materially change after WEC’s bankruptcy)); (ECF No. 204-4 at 165:5-16 (Tim Lorentz stating he

never observed SCANA employees “in the field directing any Fluor craft or foreman or general

foreman about how they’re supposed to do construction activities” both before and after WEC’s

bankruptcy)); (ECF No. 204-5 at 36:2-37:4; 48:15-49:19; 56:8-12; 113:10-23; 210:3-17; 255:18-

24; & ECF No. 204-12 at 44:6-10; 49:3-23; 60:10-21 (WEC employee Rodney Cavalieri stating

he “took day-to-day direction from [WEC]”; SCANA never “directed or controlled” how WEC

or Fluor performed their work “from any perspective”; Fluor supervisors and managers directly

supervised and directed the work of Fluor employees; SCANA never “assumed complete control

over all significant decisions made from the ground level up on the [Project]”; no WEC employee

ever reported SCANA taking such complete control to him; and, in his opinion, SCANA lacked

the personnel and expertise to take such control)); (ECF No. 204-7 at 42:24-46:6; 78:8-22 (Fluor

employee Thomas Sauer stating his direct supervisor was always a Fluor employee; no SCANA

or WEC employees ever supervised or directed his work; he never supervised any SCANA or

WEC employees; and SCANA was not involved in Fluor’s hiring of additional field engineers));

(ECF No. 204-8 at 51:13-52:14; 55:3-18; 56:10-13; 63:23-64:6 (Fluor employee Dewaii Tate



                                              18
    0:17-cv-02094-JMC          Date Filed 01/06/21       Entry Number 277          Page 19 of 52




stating his direct supervisor was a Fluor employee; all of the approximately 60 individuals Tate

supervised were Fluor employees; SCANA never “directly supervised [Tate’s] work or [gave him]

day to day instructions”; and SCANA never directly supervised his work crew)); (ECF No. 204-9

at 60:17-20; 116:4-9 (Fluor employee Lawrence Butler stating neither SCANA nor WEC

supervised his work or gave him daily instructions; his work activities did not change after WEC’s

bankruptcy; and, to his knowledge, none of Fluor’s other employees’ work activities changed after

WEC’s bankruptcy)); (ECF No. 204-13 at 181:4-12 (Fluor EVP Garry Flowers stating WEC ran

“the craft [and ran] the workers. So if somebody want[ed] to slow [the Project] down, they need[ed]

to officially have [WEC] tell us that,” and noting WEC only ever told them to “work faster”));

(ECF No. 204-14 at 69:10-21; 100:17-20 (Lakeisha Darwish stating no SCANA representative

ever gave Darwish day-to-day work instructions, and that Darwish retained the same supervisors

before and after WEC’s bankruptcy)); (ECF No. 204-15 at 85:21-86:9; 89:18-21 (Harry

Pennington stating his direct supervisors were Fluor employees while he was employed with Fluor,

and that SCANA employees never directed Pennington how to perform his job)); (ECF No. 204-

16 at 56:25-57:6, 75:13-25, 84:3-85:9 (Fluor employee James Bland stating SCANA never directly

supervised his work; the work activities of himself and other Fluor employees did not change after

WEC’s bankruptcy; and SCANA’s role was that of oversight, a “bean counter” that “verify[ed]

the commodities were installed” rather than “telling [Fluor] how to install it or when to install it”));

(ECF No. 204-17 at 82:21-83:6; 128:19-129:21 (Fluor employee Sean Donahoe stating he reported

to a Fluor employee, and not a SCANA employee; SCANA did not supervise his work; and he

was unaware of any SCANA representative “directly supervising anyone in [his] chain of

command,” including his crew, foreman, and general foreman)); (ECF No. 204-18 at 26:4-15;

128:20-129:5 (Brian Dunne stating he reported to a Fluor employee; SCANA did not direct his



                                                  19
      0:17-cv-02094-JMC       Date Filed 01/06/21     Entry Number 277       Page 20 of 52




work; and he never reported to a SCANA supervisor)); (ECF No. 204-19 at 46:5-17; 50:4-7; 66:10-

67:8 (Fluor employee Jimi Sutton stating he and his crew of ten to twelve individuals reported to

a Fluor supervisor, and Fluor employees gave him day-to-day direction)); (ECF No. 204-20 at

30:2-31:5 (Fluor employee Kimberly Bentz stating everyone in her chain of command was a Fluor

employee)).

         Likewise, SCANA did not “have any role as to the job-specific training” conducted by

Fluor or WEC. (ECF No. 195-10 at 154:10-23.) SCANA’s Vice President of Human Resources

further testified that SCANA was prohibited from directing any contractor work at the Project and

a SCANA employee “could be fired for doing” so. (ECF No. 204-10 at 120:19-121:2.) While

SCANA required WEC and Fluor to follow “good business practices, reliability, economy, and

safety,” such directives are not indicative of overt control. (ECF No. 193-3 at 29:7-30:11.)

Plaintiffs admit “[t]he first line of management and the day-to-day supervision came from the

Project’s ‘field non-manual’ organization, a mix of WEC and Fluor staff headed by WEC’s Site

Director, Carl Churchman.” (ECF No. 193 at 8.)

         Although SCANA paid Fluor directly after WEC’s bankruptcy—just as a principal client

would be expected to pay its contractor—SCANA never issued paychecks to employees of either

Fluor or WEC.16 (ECF No. 192-3 at 102:22-25); (ECF No. 192-23 at 51:23-52:16); (ECF No. 192-

24 at 49:15-18; 58:3-4; 117:18-118:6); (ECF No. 192-26 at 49:18-50:4); (ECF No. 192-27 at 42:7-

12)); (ECF No. 192-28 at 46:7-15, 58:20-25); (ECF No. 192-29 at 49:6-18, 72:24-73:1); (ECF No.

204-5 at 152:3-13); (ECF No. 204-15 at 75:14-21; 131:12-17); (ECF No. 204-20 at 57:18-21).

         Further, many portions of testimony narrowly cited by Plaintiffs for support are better

understood in the broader context of the overall record. For example, much of Plaintiff Keen’s



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     The United States Bankruptcy Court approved such payments. (See ECF No. 192-5.)
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    0:17-cv-02094-JMC         Date Filed 01/06/21      Entry Number 277        Page 21 of 52




testimony seems to support Defendants’ position, despite Plaintiffs’ reliance to the contrary. Keen,

an employee of Fluor, understood she was not a SCANA employee, did not have access to

SCANA’s personnel policies, reported to the HR Department within Fluor, and received benefits

from Fluor. (ECF No. 204-6 at 79:10-81:17.) Keen likewise took daily direction from Fluor and,

if asked to do something different by SCANA, would contact Fluor for guidance and resolution.

(Id. at 25:3-6; 31:9-16.) Another employee relied upon by Plaintiffs—Plaintiff Lorentz—testified

that WEC made the final engineering and design decisions, even though SCANA sometimes made

suggestions. (ECF No. 204-4 at 59:9-12, 140:3-14, 142:3-14.) Much of Plaintiffs’ other cited

testimony is either addressed above or supports allegations that SCANA ensured regulatory and

contractual compliance, which, in the instant case does not rise to de facto control. (See ECF No.

193 at 6-23.) When viewed as a whole, Plaintiffs’ assertions simply do not raise a genuine dispute

of material fact as to the alleged de facto control by SCANA.

       Plaintiffs claim that SCANA’s control over its contractors escalated beyond arms-length

dealings after WEC’s bankruptcy are likewise unpersuasive. The EPC Agreement—executed

between SCANA and WEC in 2008—remained in effect even after WEC declared bankruptcy in

2017. There is no allegation SCANA breached the bankruptcy court’s order, which mandated the

EPC Agreement remain in place, by exerting untoward control over Fluor. (See ECF No. 192-5 at

8.) While it appears SCANA’s relationship with WEC and Fluor changed somewhat after WEC’s

bankruptcy, it nonetheless remained far afield of SCANA exerting de facto control over its

contractors. For instance, SCANA, in accordance with the IAA, began paying Fluor directly,

which is hardly indicative of control. Even if SCANA assumed certain duties from WEC, such as

becoming responsible for the Project’s costs; “directing the [Project’s] schedule going forward”;

and dealing directly with vendors, these acts did not exert de facto control over Fluor or WEC such



                                                21
    0:17-cv-02094-JMC          Date Filed 01/06/21    Entry Number 277        Page 22 of 52




that the contractors’ separate corporate identities were disregarded. (ECF No. 193 at 17-19.)

Indeed, there appears to be no contractual relationship whatsoever between SCANA and Fluor, as

WEC hired Fluor as its subcontractor in 2016 and continued to work on the job site up to the

Project’s closure. And while SCANA intended to transition to an owner-directed model that could

have indeed invoked liability under the WARN Act, it is undisputed SCANA terminated the

Project before doing so. In short, it appears SCANA’s relationship with Fluor and WEC on the

Project did not expand beyond a normal affiliation between independent contractors and the

contracting company, particularly in a highly regulated industry.

       While some evidence of de facto control purportedly exists within the terms of the EPC

Agreement, it does not outweigh the bulk of evidence to the contrary and falls far short of

validating Plaintiffs’ claims of wholesale control. For instance, it seems SCANA had at least some

ability to approve certain of WEC’s and Fluor’s management hires. (ECF No. 191-5 at 38:2-22;

41:2-24.) But for all other employees, WEC and Fluor ultimately decided who they wanted to hire

for the Project. (ECF No. 191-10 at 153:9-16); (ECF No. 192-3 at 103:1-6); (ECF No. 192-11 at

41:7-43:13; 53:15-25); (ECF No. 192-12 at 22:15-18; 34:25-35:12); (ECF No. 204-5 at 176:22-

177:21; 254:6-255:13); (ECF No. 204-21 at 296: 2-15). Relatedly, SCANA could seek the removal

of a contractor’s employee from the Project for any reason, but it had no authority to fire or

otherwise impact that employee’s employment with the contractor. (ECF No. 191-5 at 256:3-23.)

See also Reyes, 19 F. Supp. 2d at 713 (explaining that two corporations which “handled separately

the hiring and firing of employees” was evidence of no de facto control). SCANA’s ensured

compliance with the EPC Agreement and governmental regulations is insufficient to exert de facto

control over Fluor in this particular case.




                                               22
      0:17-cv-02094-JMC         Date Filed 01/06/21      Entry Number 277        Page 23 of 52




          Other alleged evidence of control is insubstantial. When disciplinary issues arose with

Fluor’s or WEC’s employees, the fact SCANA was sometimes tangentially involved is not

dispositive evidence of de facto control. (ECF No. 195-10 at 236:19-237:6; 281:21-282:19.) Nor

are Plaintiffs’ allegations that SCANA regularly participated in various meetings, maintained

“direct oversight” over the Project, and issued a number of “condition reports.” (ECF No. 193 at

7, 13-15.) Likewise, simply because SCANA at one point suggested that the contractors “[l]ook

elsewhere, find other means of bringing people in,” after expressing dissatisfaction with

recruitment does not rise to the level of control necessary for single employer liability under the

WARN Act. (ECF No. 191-18 at 71:6-72-9.)

          Plaintiffs further claim SCANA capped Fluor’s overtime, on at least one occasion directed

Fluor to begin a concrete pour on Tuesday rather than Thursday to avoid overtime pay, and

suggested when certain of Fluor’s employees could take vacation. (ECF Nos. 193 at 18-20, 43;

211 at 11-12.) Plaintiffs relatedly allege Fluor could not increase at least some of its workforce

without SCANA’s prior approval. (Id. at 18-20, 43.) But even assuming these allegations are true

and relevant to this factor,17 the court finds such evidence is more indicative of SCANA’s attempt

to control costs at the Project rather than the continuous exercise of managerial control; supervision

of employees; or manner in which employees were paid, hired, and fired. See also Martin-Smith,

2012 WL 4472036, at *5; Reyes, 19 F. Supp. 2d at 713 (finding a lack of de facto control where

two corporations “engaged in no . . . employee activities with regard to [the other’s] operations”

besides a “few personnel matters” including “making complaints about vacation pay and receiving

employee badges, employment letters, and final pay checks”).




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     Plaintiffs have pointed to no other cases where such considerations supported de facto control.
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     0:17-cv-02094-JMC        Date Filed 01/06/21       Entry Number 277         Page 24 of 52




       Next, the court turns to the impact of the decision maker’s rule in this case. As mentioned

supra, the parties dispute which employment practice gave rise to the instant litigation: Plaintiffs

point to SCANA’s decision to terminate the Project, while SCANA contends the case arose from

Fluor’s subsequent failure to comply with the WARN Act. Even assuming the employment

practice giving rise to the instant litigation was SCANA’s abrupt termination of the Project,18 the

court finds this decision, without more, is insufficient to weigh this factor in Plaintiffs’ favor. As

listed supra, nearly every other case applying the decision maker rule and examining which entity

closed a plant to determine de facto control involved parents and subsidiaries or lenders and

borrowers. Unlike relationships involving independent contractors, such affiliations must often

clear the threshold matter of high integration to be liable under the WARN Act as a single

employer, including with ownership and operations. See Pearson, 247 F.3d at 505.

       Yet as the court found above, contractors need not clear these threshold hurdles because

the relationship between an independent contractor and a contracting company differs in some

respects from parents or lenders. For instance, an independent contractor would rarely, if ever,

share ownership with its contracting company—hence the term “independent contractor” as it

appears in the WARN Act. And as examined both infra and supra, Defendants’ operations here

were not integrated beyond a normal business relationship in a highly regulated industry.19 The



18
   The court notes its doubts with Plaintiffs’ contended employment practice at issue. For instance,
had SCANA in fact provided Fluor with sufficiently advanced notice of the Project’s closure, and
in response Fluor failed to issue 60 days’ notice pursuant to the WARN Act to its employees, it
appears to the court that Fluor’s lack of notice—and not SCANA’s site closure—would clearly be
the employment practice at issue, even though their overall level of integration remained the same.
To hold otherwise in that hypothetical would apportion fault to SCANA where none existed. In
any event, the court need not decide which argument prevails because under either theory the result
remains the same: this factor favors Defendants.
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   Further, the case cited by Plaintiffs that applied the decision maker rule to a contractor limited
its analysis to one sentence and found the contractor was not liable under the WARN Act.
Administaff, 337 F.3d at 457-58.
                                                 24
     0:17-cv-02094-JMC        Date Filed 01/06/21       Entry Number 277         Page 25 of 52




court is unwilling to assert that SCANA’s rapid Project closure, without more, established de facto

control over the independent contractor status of Fluor or WEC. To hold otherwise would likely

deform the WARN Act well beyond Congress’ intent and could open a floodgate of litigation

against principal clients who are wholly independent from a contractor or subcontractor. No court

has ever issued the expansive decision envisioned by Plaintiffs, and this court declines to do so.20

       At bottom, this factor favors Defendants. SCANA did not exert control over Fluor or WEC

beyond what would be expected between an independent contractor and a principal client,

particularly in a highly regulated industry. Even assuming the employment practice giving rise to

the instant litigation was SCANA’s Project closure, this closure alone is insufficient to establish

de facto control over an otherwise independent Fluor.

       (4) Unity of Personnel Policies

       The unity of personnel policies factor “is analogous to the aspect in the federal labor law

test concerning ‘centralized control of labor operations,’” and includes such elements as

“centralized hiring and firing, payment of wages, maintenance of personnel records, benefits and

participation in collective bargaining.” Vogt, 318 F. Supp. 2d at 142-43. In essence, this factor




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   Plaintiffs rely heavily on Local 217, a Second Circuit decision, to support their position that the
decision maker rule is applicable to contractors, and the employment practice at issue is a job site’s
abrupt closure. Local 217, Hotel & Rest. Employees Union v. MHM, Inc., 976 F.2d 805, 808 (2d
Cir. 1992). Yet the Second Circuit ultimately dismissed that case’s WARN Act claim because the
relief sought—an injunction—was not an available remedy under the WARN Act. Id. at 808-09.
Thus, the reasoning upon which Plaintiffs heavily rely is simply dicta. Moreover, even if the court
were inclined to depend upon this persuasive authority, at least one other Circuit has observed
additional problematic implications of the dicta within Local 217. See Int’l Bhd. of Teamsters,
Chauffeurs, Warehousemen & Helpers, Gen. Truck Drivers, Office Food & Warehouse Local 952
v. Am. Delivery Serv. Co., 50 F.3d 770, 777 (9th Cir. 1995) (declining to follow Local 217 because
“the fact that [Local 217] does not even mention the unforeseeable business circumstances
exception makes its authoritativeness questionable,” while noting such a holding would “render
the unforeseeable business circumstances exception virtually ineffective”) (citation omitted).
                                                 25
     0:17-cv-02094-JMC          Date Filed 01/06/21      Entry Number 277        Page 26 of 52




examines “whether the companies actually functioned as a single entity with regard to its

relationship with employees.” Pearson, 247 F.3d at 499.

          Plaintiffs again contend SCANA unified its personnel policies with its contractors in two

ways: first, by terminating the Project because this decision alone laid off thousands of its

contractors’ employees; and second, by various other actions taken throughout the Project after

WEC’s bankruptcy. (ECF No. 193 at 42-43.) Plaintiffs seem to rely upon much of the same

evidence offered and argued under the de facto control factor.

          In response, SCANA again points to its contractors’ failure to give WARN notice after the

Project’s closure, rather than SCANA’s decision to terminate the Project. (ECF No. 204 at 27-28.)

In that vein, SCANA asserts “[t]here is absolutely no evidence that SCANA made decisions about

whether WEC or Fluor would provide notice to their respective employees or what would happen

to their employees at the conclusion of the Project.” (Id. at 27.) SCANA further stresses that,

throughout the Project, it did not have unified personnel policies with its contractors. (ECF Nos.

192-1 at 15-16; 204 at 27-31.)

          For the reasons discussed above, the court believes it prudent to examine both the unity of

personnel policies at the Project as well as the impact of SCANA’s decision to close the Project

itself.

          As to the Project, the court finds that the personnel policies of both SCANA and its

contractors were not sufficiently unified to constitute a WARN single employer. As previously

examined, SCANA did not hire, fire, or pay wages to employees of either Fluor or WEC.

Moreover, Plaintiffs admit “[f]or the most part . . . that WEC and Fluor filled the ‘nominal’

employer role for their employees.” (ECF No. 211 at 13.) This concession apparently covers the




                                                  26
    0:17-cv-02094-JMC        Date Filed 01/06/21      Entry Number 277         Page 27 of 52




undisputed facts that SCANA did not share its human resources department with its contractors

and did not pay employment benefits to its contractors’ employees.

        Further, at least nine witnesses’ testimony, including many of Plaintiffs, explained that

SCANA’s employee handbook and other related policies were not provided or did not apply to the

contractors’ employees. (ECF No. 192-2 at 106:17-20 (Pennington was never “given any policies

and procedures that covered SCANA employees while . . . working on site”)); (ECF No. 192-3 at

101:23-102:14 (WEC had “its own policies and procedures that governed employees [and]

employee relations,” and SCANA and Fluor never provided Lorentz with an employee

handbook)); (ECF No. 192-31 at 139:20-23 (SCANA never “provided any SCANA handbooks,

policies, or benefit plans” to Fluor employee Dunne)); (ECF No. 192-23 at 55:7-9 (SCANA or

WEC never provided Butler with a handbook)); (ECF No.192-26 at 51:22-52:3 (Fluor employee

Bland never “receive[d] a SCANA handbook” or “any SCANA employment policies”)); (ECF No.

192-28 at 49:20-25 (Sauer “received a Fluor [P]roject handbook” but not a “SCANA employee

handbook”)); (ECF No. 192-29 at 68:23-69:11 (Fluor employee Tate received workforce

guidelines from Fluor but did not “receive an employee handbook or workforce guidelines or

anything like that from any other company other than Fluor”)); (ECF No. 204-17 at 100:10-22

(Fluor employee Donahoe acknowledging his own signature that made “Fluor policies . . .

applicable to [his] employment with Fluor[.]”)); (ECF No. 204-20 at 173:18-23 (Fluor employee

Bentz was not “subject to any SCANA employee handbooks when [she] worked at the

[Project.]”)).

        In an attempt to dispute the above evidentiary record that SCANA’s employment policies

were inapplicable to its contractors, Plaintiffs cite to Fluor’s subcontract requiring in part that

Fluor’s personnel



                                                27
     0:17-cv-02094-JMC        Date Filed 01/06/21       Entry Number 277        Page 28 of 52




       comply with . . . all rules, regulations[,] and policies of [WEC] and [SCANA] that
       are communicated to [Fluor] in writing, including security procedures concerning
       systems and data and remote access thereto, building and Site security procedures,
       including the restriction of access to certain areas of its premises or systems for
       security reasons, and general health and safety practices and procedures[.]”21

(ECF No. 190-19 at 16 (section 2.02(g)).) Yet Plaintiffs do not provide, cite to, or specify any

policies promulgated under this section that tend to show unified personnel policies.22

       Relatedly, while SCANA maintained its own Employee Concerns Program (“ECP”) for

any Project employee to voice safety concerns both before and after the WEC bankruptcy, this

program is insufficient to show a unification of personnel policies. (See ECF No. 193-3 at 94:6-

95:18 (explaining the ECP was “part of the nuclear safety culture requirement for the nuclear

industry to have [an] alternate way to raise concerns. [The regulations] actually [don’t] specify

how you do it. That was the way that [SCANA] chose to have an employee concerns program”).)

       Plaintiffs point out that, after WEC’s bankruptcy, “Fluor submitted weekly estimates of its

costs directly to SCANA before the work was done, including itemized breakdowns of straight-

time and overtime pay for its employees. SCANA had the authority to deny any portions of those

costs.” (ECF No. 193 at 18 (internal citations omitted).) But controlling such costs does not relate

to “centralized hiring and firing, payment of wages, maintenance of personnel records, benefits[,]




21
   Plaintiffs also allege “SCANA had approval authority over all work rules applicable to Fluor
employees[.]” (ECF No. 205 at 39-40 (citing ECF No. 192-8 at 100-01 (section 24.2)).) But it
appears the referenced section of the EPC Agreement in fact states in part that “Contractor shall
submit to Owner for approval a set of work rules that applies to all Contractor
and Subcontractor employees. This set of work rules shall establish Contractor’s and
Subcontractor’s disciplinary action policy and hiring and termination policy.” (ECF No. 192-8 at
100-01 (section 24.2).) This section thus does not appear to cover “all work rules applicable to
Fluor employees,” as claimed by Plaintiffs. Nor do Plaintiffs cite to, produce, or specify any policy
promulgated under this section that tends to show a unification of personnel policies.
22
   The court further observes the examples listed in Fluor’s subcontract primarily concern health
and safety policies, rather than any examples focused on employees and personnel. (See ECF No.
190-19 at 16 (section 2.02(g)).)
                                                 28
    0:17-cv-02094-JMC          Date Filed 01/06/21      Entry Number 277        Page 29 of 52




and participation in collective bargaining.” Vogt, 318 F. Supp. 2d at 142-43. It is thus clear

Defendants lacked the “centralized control of labor operations” during the Project necessary to

prove this factor. Id.

        Indeed, SCANA and Fluor are in two entirely different industries: SCANA is a utility

company that provides South Carolinians with electricity, while Fluor is a “global engineering and

construction company.” (ECF No. 41 at 5, 7 ¶¶ 24, 37.) This fact alone makes it “seem[] unlikely

that Plaintiffs could ever demonstrate an integration of operations satisfying the unity of personnel

policies factor.” In Re Consol. Bedding, Inc., 432 B.R. 115, 122 (Bankr. D. Del. 2010) (noting the

difficulty in demonstrating unified personnel policies between an investment company and a

mattress manufacturer based solely on their different industries). The court accordingly finds

Defendants did not share unified personnel policies at the Project.

        Next, the court turns to whether SCANA’s decision to close the Project itself unified the

personnel policies between SCANA and Fluor. For substantially the same reasons as discussed

above, the court finds that, even assuming the employment practice at issue was SCANA’s Project

closure, the closure alone did not sufficiently unify Defendants’ personnel policies to weigh this

factor in Plaintiffs’ favor.

        It is true at least some persuasive authority, on its face, suggests that SCANA’s Project

closure alone could be enough to unify Defendants’ personnel policies. For instance, in Vogt, the

court found that “[i]n the context of the WARN Act, the decision to effect a mass layoff is the

single most important personnel policy.” Vogt, 318 F. Supp. 2d at 142-43. Yet Vogt dealt with an

investment group that owned a manufacturer of outboard engines and allegedly “directed the

[manufacturer] to enter bankruptcy and shut its facilities.” Id. at 144. The investment group also




                                                 29
     0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277          Page 30 of 52




purportedly coordinated with the manufacturer’s CEO regarding the bankruptcy filing, maintained

common ownership over the manufacturer, and shared board members. Id. at 142, 144.

       Here, by contrast, any such level of integration between Fluor and WEC, both independent

contractors, and SCANA is simply absent from the record. As SCANA’s and Fluor’s personnel

policies were not unified on the Project, the court consequently finds SCANA’s Project closure

alone is insufficient to unify its personnel policies with those of its independent contractors. If the

court were to follow Plaintiffs’ theory, it would seem any principal client’s hire of an otherwise

independent contractor would unify their personnel policies (not to mention the exercise of de

facto control) by simply closing the job site, or at least by abruptly closing the job site without

giving prior warning to the independent contractor. As discussed above, no court has expanded the

WARN Act to that effect, and this court declines to do so.23

       (5) Dependency of Operations

       In some cases, the dependency of operations factor “addresses three areas of overlap

between related corporations: (1) sharing of administrative or purchasing services, (2) interchanges

of employees or equipment, or (3) commingled finances.” Guippone, 2010 WL 2077189, at *6

(citation omitted). But in other cases, courts look beyond an individual job site to see if two entities

are otherwise dependent on their continued operations. See Martin-Smith, 2012 WL 4472036, at

*6 (observing two companies were not codependent because their respective operations went “well

beyond” the contract at issue, and outside of that contract, the companies had no relationship,



23
  As discussed below, if an employer fails to provide 60 days’ advanced notice before a layoff or
closure, liability pursuant to the WARN Act may not attach if the business circumstance
necessitating the layoff was unforeseeable. 29 U.S.C. § 2102(b)(1)(2)(A); 20 C.F.R. § 639.9(b).
Plaintiffs’ theory of single employer liability would seem to severely weaken this exception and
contravene Congressional intent, as an independent contractor would always amount to a single
employer (and thus be liable) with its principal client if the client closed a plant, even if the
shutdown was reasonably unforeseeable.
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    0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277        Page 31 of 52




“much less a dependency relationship”); In re APA Transp. Corp. Consol. Litig., 541 F.3d 233,

245 (3d Cir. 2008), as amended (Oct. 27, 2008) (explaining “there is no stronger evidence for . . .

[a lack of codependence] than that APA Truck Leasing continued to operate without incident after

APA Transport folded”).

       Plaintiffs focus narrowly on the Project to assert Defendants’ operations “were wholly

dependent on one another for the successful construction of the Project.” (ECF No. 193 at 47.) In

essence, Plaintiffs seek to show codependent operations at the Project because SCANA “had the

right to direct and control the manner in which [its contractors] undertook their duties.” Pearson,

247 F.3d at 501. Such arguments again seem similar to those posed for de facto control. By

contrast, Defendants claim their operations were not dependent at the Project, and argue the court

should look beyond the Project, as they are otherwise completely separate entities in completely

different industries. (ECF No. 204 at 33-35.) The court finds it prudent in this case to look to the

dependency of operations both at the Project and beyond it.

       Here, the court finds this factor favors Defendants. To start, the Project specific

dependency of operations was not beyond a normal business relationship, particularly because it

concerned building a multi-billion-dollar facility in the highly regulated industry of nuclear power.

It does not appear SCANA commingled any funds or shared any employees with WEC or Fluor

to reveal dependent operations, as discussed above. Further, the fact that “WEC provided laptops,

email addresses[,] and IT access to the majority of Fluor senior management” is not particularly

relevant to whether SCANA amounted to a single employer with its contractors. (ECF No. 193 at

46); (ECF No. 191-15 at 79:10-18); (ECF No. 193-9 at 24:21-25:8). Plaintiffs likewise have failed

to demonstrate that SCANA “shared” other unspecified “equipment.” (ECF No. 193 at 46.) And

although “a few” SCANA employees apparently maintained “office space” in a building otherwise



                                                 31
     0:17-cv-02094-JMC        Date Filed 01/06/21      Entry Number 277        Page 32 of 52




occupied by WEC and Fluor, and SCANA “provided facilities . . . for WEC and Fluor” at the

Project, which Plaintiffs assert included construction trailers, the court finds such minimal

connections are insufficient to show any significant dependency of operations in the instant case.24

(ECF Nos. 191-15 at 86:5-19; 114 at 14 ¶ 85 (Pennington).)

       Likewise, the mere fact that SCANA was legally required to comply with extensive

regulations, was sometimes “intrusive” when completing quality control checks, and attended

regularly scheduled project meetings with its contractors (ECF No. 193 at 49-51) does not support

codependent operations. Nor is it decisive that SCANA would review WEC’s and Fluor’s

regulatory interpretations governing their work to ensure legal compliance. (ECF No. 193 at 49.)

Indeed, as Plaintiffs admit, “[b]y law, the design, engineering[,] and construction required

SCANA’s oversight. SCANA’s obligations to ensure compliance with the NRC’s complex

regulations were non-delegable.” (ECF No. 193 at 48.) As thoroughly discussed supra, the court

declines to find compliance with such regulations amounted to dependent operations under the

WARN Act. See also Martin-Smith, 2012 WL 4472036 at *6.

       Outside of the Project, the court observes SCANA and Fluor were wholly independent and

unaffiliated companies. Indeed, other than the Project, it appears the only past or current

connection between SCANA, WEC, and Fluor is the instant litigation. See id. The fact these

entities were separate and independent for their respective continued business operations further

weighs this factor in favor of Defendants. See In re APA Transp., 541 F.3d at 245. In short,

Defendants’ operations both at the Project and beyond it were not dependent. This factor thus

favors Defendants.




24
  SCANA counters there was no exchange of any employees or equipment, nor sharing of any
administrative or purchasing services with its contractors. (ECF No. 204 at 34-35.)
                                                32
    0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277         Page 33 of 52




       (6) Outcome of DOL Factors Analysis

       After a thorough review of the record, and even in the light most favorable to Plaintiffs,

the court concludes that all five factors either weigh in favor of Defendants or do not favor

Plaintiffs. Specifically, the DOL Factors of shared ownership and shared officers at a minimum do

not favor Plaintiffs. The de facto control of operations, unity of personnel policies, and dependency

of operations factors all favor Defendants. While Plaintiffs attempt to highlight evidence or legal

theories in their favor (or underscore purported factual disputes) for four of the DOL Factors, the

court finds the overall evidentiary record dwarfs this evidence such that no reasonable jury could

find for Plaintiffs and, as a matter of law, Defendants are entitled to summary judgment. Given

this result, the court must conclude SCANA and Fluor did not act as a single employer for the

purposes of the WARN Act. As a consequence, SCANA was not required to give WARN notice

to Fluor’s or WEC’s employees, despite SCANA’s abrupt closure of the Project.

   B. Fluor’s Liability Under the WARN Act

       (1) Fluor as a Separate WARN Employer

       The court next turns to Fluor’s liability for failing to give 60 days’ notice pursuant to the

WARN Act to its employees after the Project’s termination. Generally, two avenues exist to find

an independent contractor liable under the WARN Act, depending on whether the contractor

functions: (1) “as a part of the . . . contracting company” (here, as a single employer with SCANA);

or (2) “as [a] separate employer[].” 20 C.F.R. § 639.3(a)(ii)(2). As discussed above, the first avenue

is unavailing to Plaintiffs because SCANA and Fluor were not a single WARN employer. What

remains is whether Fluor may be liable as a separate WARN employer.




                                                 33
     0:17-cv-02094-JMC        Date Filed 01/06/21        Entry Number 277         Page 34 of 52




       As explained above, to be liable under the WARN Act an employer must either order a

“plant closing” or “mass layoff” as defined by statute. See 29 U.S.C. § 2102(a); McKinney, 868

F.3d at 463; see also Deveraturda, 454 F.3d at 1049.

       It appears Plaintiffs concede that Fluor did not close the Project nor conduct a mass layoff

necessary to sustain a WARN Act violation as a separate employer. Plaintiffs state that “Congress

required the plant closer to provide notice. SCANA was that plant closer. That the Plaintiffs’ direct

employers, Fluor and WEC, terminated [their respective employees] simply completed SCANA’s

illegal employment practice which is the basis of this WARN litigation.”25 (ECF No. 205 at 35

(emphasis added).) Indeed, Plaintiffs spend considerable time throughout their briefs articulating

that the illegal employment practice at issue was SCANA’s plant closure, and not Fluor’s

subsequent lack of WARN notice.26 Plaintiffs do not argue Fluor was a separate WARN employer

in their Motion for Summary Judgment (see ECF No. 193), nor in their response to Fluor’s Motion

for Summary Judgment (see ECF No. 207), despite the fact Fluor explicitly contended it was not




25
 Further evidence of this admission comes from Plaintiffs’ contention that, if Fluor and SCANA
were not a single WARN employer, then Fluor would wrongfully escape liability:

       As a matter of law, under the facts of this case as they relate to the inter-relationship
       of SCANA and Fluor vis-à-vis the Project, Fluor is an “employer” within the
       meaning of WARN for liability purposes. To hold otherwise would permit any
       operating company, such as Fluor, to skirt its WARN obligations by claiming it
       was simply passing on an order from the property owner.

(ECF No. 207 at 23.) And Plaintiffs restate this sentiment in a slightly different manner elsewhere
in briefing: “Fluor was the direct WARN employer. SCANA forced the shutdown.” (ECF No. 213
at 2.)
26
   Plaintiffs likely avoided briefing this issue because they would have been forced to take
contradictory positions: Plaintiffs’ theory of single employer liability requires SCANA to have
undertaken the employment practice at issue (i.e., the Project’s closure); while separate WARN
employer liability for Fluor would require Fluor to have undertaken the employment practice at
issue (i.e., its subsequent mass layoff and failure to send WARN notice).
                                                  34
     0:17-cv-02094-JMC       Date Filed 01/06/21      Entry Number 277        Page 35 of 52




a separate WARN employer (ECF Nos. 190 at 26-36; 209 at 5-8).27 Accordingly, the court

observes the original theory of liability put forth in Butler has in all likelihood been waived.28

Regardless, even assuming Plaintiffs have not waived this theory of liability, the court finds the

Project’s abrupt closure amounted to unforeseeable business circumstances (“UBC”) to Fluor,

which relieved Fluor of WARN liability for failing to send a 60-day notice to its direct

employees.29

       (2) Unforeseeable Business Circumstances

       A WARN “employer may order a plant closing or mass layoff before the conclusion of the

60-day period if the closing or mass layoff is caused by business circumstances that were not

reasonably foreseeable as of the time that notice would have been required.” 29 U.S.C. §

2102(b)(1)(2)(A); 20 C.F.R. § 639.9(b).

       “To satisfy these conditions, the defending party must establish that (1) the
       circumstance was unforeseeable, and (2) the layoffs were caused by that
       circumstance.” Gross v. Hale-Halsell Co., 554 F.3d 870, 875 (10th Cir. 2009).


27
   By way of background, before the court consolidated Butler and Pennington, Butler Plaintiffs
alleged that Fluor was liable under the WARN Act as a separate employer, and Fluor’s failure to
send WARN notice before it laid off Plaintiffs violated the Act. (See ECF No. 1.) Yet Plaintiffs’
instant Motion for Summary Judgment, which was brought on behalf of all Plaintiffs and by all of
class counsel in both cases, focuses solely on whether SCANA and Fluor were a single employer
under the WARN Act. Plaintiffs in both Butler and Pennington are identical, with the only
difference in the two cases being class counsel. As explained supra, the court did not designate
any class of Plaintiffs to any particular class counsel.
28
   See Jenkins v. Pate, C/A No. 5:15-CV-02241-JMC, 2016 WL 5799313, at *14 (D.S.C. May 26,
2016), report and recommendation adopted, 2016 WL 5661700 (D.S.C. Sept. 30, 2016), appeal
denied, 722 Fed. App’x 345 (4th Cir. 2018) (“[W]here a party fails to respond to the opposing
party’s . . . motion for summary judgment, the party who fails to respond will be found to
have conceded to that argument.”); see also Alvarez v. Lynch, 828 F.3d 288, 295 (4th Cir. 2016)
(explaining that ignoring an opponent’s argument is “an outright failure to join in the
adversarial process [that] ordinarily result[s] in waiver”).
29
    Plaintiffs appear to contest whether the Project’s closure was an unforeseeable business
circumstance in the context of their single WARN employer theory of liability. (ECF No. 207 at
27-35.) The court largely relies on such arguments to analyze whether the UBC exception applied
to the WARN Act as a separate employer, as the UBC analysis under either theory of liability
would be identical.
                                               35
    0:17-cv-02094-JMC         Date Filed 01/06/21      Entry Number 277        Page 36 of 52




         “When confronted with an assertion that the exception applies, a reviewing court
         must be careful to avoid analysis by hindsight; the trail of harbingers of an
         unforeseen event always looks brighter in retrospect.” Local Union 7107 v.
         Clinchfield Coal Co., 124 F.3d 639, 641 (4th Cir. 1997).

Messer v. Bristol Compressors Int’l, LLC, No. 1:18CV00040, 2020 WL 1472217, at *15 (W.D.

Va. Mar. 26, 2020).

         The test “focuses on an employer’s business judgment. The employer must exercise such

commercially reasonable business judgment as would a similarly situated employer in predicting

the demands of its particular market.” 20 C.F.R. § 639.9(b)(2). Despite this, “[t]he employer is not

required . . . to accurately predict general economic conditions that also may affect demand for its

products or services.” Id. “An important indicator of a business circumstance that is not reasonably

foreseeable is that the circumstance is caused by some sudden, dramatic, and unexpected action or

condition outside the employer's control.” Id.

         The WARN Act’s regulations list examples of UBC, including:

         A principal client’s sudden and unexpected termination of a major contract
         with the employer, a strike at a major supplier of the employer, and an
         unanticipated and dramatic major economic downturn might each be considered a
         business circumstance that is not reasonably foreseeable. A government ordered
         closing of an employment site that occurs without prior notice also may be an
         unforeseeable business circumstance.

Id. (emphasis added). These regulations thus explicitly contemplate the instant scenario before the

court.

         The parties fight over defining “reasonable” in the context of UBC. Plaintiffs insist

Congress could have included the terms “probable” or “more likely than not” but declined to do

so, thus indicating a lower (and unspecified) standard of reasonableness is appropriate. (ECF No.

207 at 29-20.) Yet as asserted by Fluor, numerous Circuit Courts of Appeals reviewing the UBC

exception, including the Fifth, Sixth, Seventh, and Tenth Circuits, have found a layoff or closure



                                                 36
     0:17-cv-02094-JMC        Date Filed 01/06/21       Entry Number 277        Page 37 of 52




must be “probable—that is, when the objective facts reflect that the layoff was more likely than

not.” (ECF No. 190 at 31 n.138.) In line with these decisions, the court adopts the standard defining

reasonableness as probable or more likely than not.30

       Courts have noted that the specific industry at issue is relevant to exercising commercially

reasonable business judgment. In Int’l Ass’n of Machinists & Aerospace Workers, AFL-CIO v.

Gen. Dynamics Corp., the court explained the United States Government’s cancellation of a

contract to manufacture a certain type of plane with a defense contractor was not reasonably

foreseeable because, in the unique context of defense contracting, contracts are often over budget

and behind schedule. 821 F. Supp. 1306, 1312 (E.D. Mo. 1993). Further, “the A–12 [plane] was

widely perceived as an urgently needed replacement for the A–6E.” Id. at 1312. The court

accordingly found the UBC exception was applicable. Id. at 1312-13.

       It is undisputed that SCANA waited until the date of the closure on July 31, 2020, to inform

Fluor of the Project’s termination. Indeed, the parties admit SCANA kept the Project’s closure a

tight secret limited to a handful of SCANA employees. Despite this, Plaintiffs essentially contend

that Fluor was willfully ignorant of the Project’s rapidly mounting problems. (ECF No. 207 at 32-



30
   See In re AE Liquidation, Inc., 866 F.3d 515, 530 (6th Cir. 2017) (“[A] layoff becomes
reasonably foreseeable only when it becomes more likely than not that it will occur.”); United Steel
Workers of Am. Local 2660 v. U.S. Steel Corp., 683 F.3d 882, 887 (8th Cir. 2012) (UBC exception
turns on whether the circumstance was “probable” rather than a “mere possibility”); Gross, 554
F.3d at 876 (“[W]e do not rely on the mere possibility that layoffs will occur, but rather look for
their probability.”); Roquet v. Arthur Andersen LLP, 398 F.3d 585, 589 (7th Cir. 2005) (“Again,
the WARN Act deals in reasonable probabilities, not possibilities. Moreover, an employer does
not have to be caught completely off guard by a dire business circumstance for it to be ‘sudden,
dramatic, or unexpected.’ Case law reveals that WARN Act defendants need not show that the
circumstances which caused a plant closing or mass layoff arose from out of the blue to qualify
for the exception.”); Watson v. Mich. Indus. Holdings, Inc., 311 F.3d 760, 765 (6th Cir. 2002)
(adopting the probability standard instead of the “mere possibility” that a circumstance would
occur (citation omitted)); Halkias, 137 F.3d at 336 (“We can only conclude that it is the probability
of occurrence that makes a business circumstance ‘reasonably foreseeable’ and thereby forecloses
use of the [UBC] exception to the notice requirement. A lesser standard would be impracticable.”).
                                                 37
    0:17-cv-02094-JMC          Date Filed 01/06/21       Entry Number 277          Page 38 of 52




33.) Plaintiffs stress that, although Fluor was hired in 2016 to address delays and cost overruns,

such issues became so large that the Project’s closure became reasonably foreseeable at some

(unspecified) point on or before June 1, 2020. (Id. at 33.) Plaintiffs point to a purported “mountain”

of other evidence showing the Project’s shutdown was probable, including that WEC could not

meet its obligations to the Project; Fluor’s ETC showed completing the Project would cost

significantly more than expected; WEC’s bankruptcy put Fluor on notice that SCANA no longer

had WEC’s “bargained-for crucial fixed-price arrangement,” whereby WEC previously agreed to

complete the Project at a fixed price; Fluor knew SCANA was “seriously considering” closing the

Project in April and May of 2017, depending on what SCANA could afford; after the first IAA

end date was extended to June 26, 2017, “Fluor was playing with fire when it ignored that

upcoming deadline”; by April 2017, Fluor knew the “critically important” factors SCANA was

considering about closing the Project; and Fluor was unwilling to proceed at some point due to

scheduling and contractual concerns. (Id. at 9-12, 29-30 n.134.) Plaintiffs also take issue with

Fluor’s mailings in August 2017 concerning notice of the layoff, arguing this notice was not “as

soon as practicable” and thus untimely for the purposes of the WARN Act. (Id. at 36.)

        Fluor contends that it did not order the plant closure and thus cannot be liable under the

plain language of the WARN Act. (ECF No. 190 at 27-29.) Even if Fluor was liable for

subsequently laying off its employees, Fluor claims the Project’s abrupt closure meets the UBC

exception. (Id. at 29-36.) Fluor stresses the information available to it up to July 31, 2020, indicated

that the Project would continue. (Id. at 32-36.) Fluor further points to deposition testimony from

numerous witnesses stating that the Project’s closure was the least likely option going forward.

(Id. at 34-36.) Likewise, Fluor observes that SCANA only decided to close the Project well after

the June 1, 2017 deadline on which Plaintiffs assert Fluor should have sent WARN notice. (ECF



                                                  38
    0:17-cv-02094-JMC         Date Filed 01/06/21       Entry Number 277        Page 39 of 52




No. 209 at 4.) Fluor admits it knew some—but not all—of the problems the Project faced, and

disclaims knowledge regarding SCANA’s tolerance for additional costs and delays. (Id. at 8-10.)

Fluor also notes the rapid closure of the Project was unprecedented, and that everyone expected a

winding down period at the job site. (Id. at 13-14.)

       Here, Fluor is not liable for failing to provide 60 days’ notice in accordance with the

WARN Act. For one, Fluor is not a WARN employer because Fluor did not order the Project’s

closure. See, e.g., McKinney, 868 F.3d at 463 (“Only ‘employers’ that ‘order’ a plant closing face

regulation by the [WARN] Act or liability under it.”); Holliday, 2011 WL 13186050, at *7 (“Given

that the government made the decision to close the [immigration processing facility] and

Defendant[, a security contractor,] merely responded to this order by laying off its employees who

worked there, the Court finds as a matter of law that the WARN Act does not apply.”); but see

Halkias, 137 F.3d at 336-37 (explaining a defense contractor’s mass layoff at its own facility, after

the United States Government cancelled a large contract for A-12 planes, invoked the WARN Act,

but regardless the contract cancellation amounted to UBC) (emphasis added); Loehrer, 98 F.3d at

1062-63 (similar). As it is undisputed that SCANA—and not Fluor—abruptly closed the Project,

and in response Fluor was forced to conduct a mass layoff, Fluor does not qualify as an employer

under the WARN Act.

       Yet even assuming Fluor’s mass layoff in response to the Project’s closure falls under the

WARN Act, the court finds the circumstances necessitating the layoff were reasonably

unforeseeable to Fluor—not only on June 1, 2017, the date on which Plaintiffs contend notice

should have been sent, but also in all likelihood up to the date of the shutdown. For one, it is

undisputed that SCANA intentionally withheld its decision to close the Project from Fluor and




                                                 39
    0:17-cv-02094-JMC         Date Filed 01/06/21      Entry Number 277        Page 40 of 52




others until July 31, 2017, and Fluor did not and could not weigh in on SCANA’s decision-making

process. (ECF No. 193 at 23-28.)

        Further, although Plaintiffs insistently allege Fluor should have otherwise known of the

impending closure, the court finds SCANA left no such trail of breadcrumbs to make the shutdown

reasonably foreseeable. Plaintiffs admit to the following facts that are relevant to this analysis:

transition teams—which worked on implementing SCANA’s direct-owner model—kept working

until July 31, 2017, not knowing the Project was closing until that date (id. at 23, 26); SCANA

shared little information from its own ETC with Fluor, and intentionally did not include Fluor in

meetings with Santee Cooper to discuss Fluor’s cost assessment (id. at 24-25); SCANA never

informed Fluor that Santee Cooper planned to withdraw from the Project (id. at 25-27); SCANA

never informed Fluor executives that the Project’s closure was being seriously considered (id. at

26-27); and the abrupt closure of such a large scale job site was unprecedented in the construction

industry, particularly regarding nuclear construction, without notice and a period of winding down

(id. at 29).

        Fluor likewise did not have the full picture of the financial health of the Project. As

Plaintiffs state it, SCANA

        relied on WEC and Fluor’s input—their data, their computer models, and their
        people—to build its ETC models, [but] the contractors were forbidden from seeing
        the full outputs of that process. Neither WEC nor Fluor were allowed in the critical
        series of ETC presentations to SCANA and Santee Cooper executives, during
        which the owners confronted the magnitude of the project’s costs. Even SCANA’s
        “ETC review meeting” with Fluor in late June consisted only of bits and pieces
        related to Fluor’s scope of work, which Fluor was asked to review for SCANA’s
        benefit, not its own. The ETC’s critical conclusion—the total cost of the project—
        was not discussed. In the second such meeting on July 5, SCANA similarly offered
        Fluor only glimpses of “portions” of the ETC. WEC’s Vice President never saw
        any of the ETCs or even had them described to him. SCANA unabashedly sought
        to keep WEC and Fluor in the dark about the critical ETC findings because it did
        not want them to “make any assumptions” about the fate of the [P]roject.



                                                40
    0:17-cv-02094-JMC        Date Filed 01/06/21      Entry Number 277         Page 41 of 52




(ECF No. 193 at 37 (Plaintiffs’ Motion for Summary Judgment) (emphasis added) (internal

citations omitted).)

       Additional evidence shows the Project’s closure was reasonably unforeseeable. Many

witnesses indicated the Project’s abrupt shutdown was a surprise, and that among the paths

available to the Project, they believed a closure was the least likely option. (ECF No. 189-51 at 3

¶ 6); (ECF No. 190-5 at 193:10-12); (ECF No. 190-15 at 2-4 ¶¶ 7, 11-12); (ECF No. 190-17 at 4-

7 ¶¶ 19, 21-22, 24, 26(a)); (ECF No. 190-18 at 52:2-17; 87:14-88:1); (ECF No. 190-20 at 4-5 ¶ 9);

(ECF No. 190-27 at 94:13-14 (Fluor CEO David Seaton stating “[w]e never thought the site would

be abandoned”)); (ECF No. 190-38 at 89:1-19; 114:3-115:4); (ECF No. 190-39 at 2-3 ¶¶ 5-7);

(ECF No. 190-40 at 18:4-10, 22:1-7); see (ECF No. 190-31 at 39:19-24 (“[Fluor] was always under

the assumption we were going forward”)). The Public Service Commission of South Carolina,

which had been involved in the Project’s oversight for nearly a decade, felt “blindsided” by the

closure and described it as a “gut punch.” (ECF No. 189-82 at 35:3-11, 86:13-87:5 (Aug. 1, 2017

Public Service Commission Hearing Tr.).) None of the “dozens of other subcontractors working

on the Project” purportedly issued WARN notices on or before June 1, 2017. (ECF No. 190-17 at

4-5 ¶ 20). The day after the shutdown, SCANA noted that its contractors were surprised by the

closure and that “[t]he maintenance of confidentiality during this evaluation process . . . [was]

critical.” (ECF No. 189-82 at 33:14-20, 35:12-23 (Aug. 1, 2017 Public Service Commission

Hearing Transcript).)

       Further discovery revealed that SCANA itself was not sure of the Project’s closure until

the withdrawal of Santee Cooper on July 7, 2017, which occurred well after June 1, 2017, the latest

date on which Plaintiffs contend Fluor should have sent WARN notice. (ECF No. 193 at 25-27.)




                                                41
    0:17-cv-02094-JMC         Date Filed 01/06/21      Entry Number 277        Page 42 of 52




From the record it appears this withdrawal was critical—and also a closely-held secret by SCANA.

(Id.)

        Moreover, WEC’s bankruptcy did not make the Project’s closure probable. Indeed, while

Fluor knew the bankruptcy would likely relieve WEC of its fixed-price arrangement, at least some

evidence suggests Fluor took this bankruptcy as good news, as it hoped to expand its workload at

the Project. (ECF No. 190-17 at 2 ¶ 7); (ECF No. 190-26 at 13:13-24; 38:6-17); see (ECF No. 189-

35 at 1-2); (ECF No. 190-18 at 35:15-21 (SCANA began directly paying Fluor after WEC’s

bankruptcy to keep work ongoing at the Project)). Fluor relatedly was not savvy to negotiations

between SCANA and WEC’s parent company regarding the bankruptcy, and saw the subsequent

$2.1 billion settlement as positive for the Project. (ECF No. 189-81); (ECF No. 190-15 at 3 ¶ 10);

(ECF No. 190-17 at 3, 4 ¶¶ 15, 18); (ECF No. 190-30 at 266:2-18). Fluor had no reason to believe

the IAA would not be extended beyond June 26, 2017, just as it had been previously. (ECF No.

190-17 at 2 ¶ 10). And contract negotiations appear to have been ongoing between SCANA and

Fluor at the time of the Project’s closure. (ECF No. 190 at 11-13.) At least some evidence suggests

Fluor was open to overcoming certain scheduling and contractual concerns, including a proposed

seven-day rolling schedule. (See ECF No. 189-84 at 1 (“I believe some of our staff . . . are warming

to the idea that [the proposed rolling seven day schedule] can work if SCANA is willing to pay the

premium[.]”).)

        Additionally, some of the evidence Plaintiffs cite for support is better understood within

the broader context of the whole record. For instance, the full message of a June 21, 2017 text

between Fluor executives reads as follows: “Interesting discussion with Michael Crosby, Lonnie

is trying to convince SCANA they need a partner, Dominion and Duke showing interest, or [to]

shut it down.” (ECF No. 207-38 at 2 (emphasis added).) Another of Plaintiffs’ partially-excerpted



                                                42
    0:17-cv-02094-JMC          Date Filed 01/06/21      Entry Number 277         Page 43 of 52




cites comes from a conversation wherein Flowers stated he thought “there [wa]s a good chance

[SCANA] only go[es] with one [nuclear reactor] unit[,]” instead of the original plan to construct

two reactors. (ECF No. 207-34 at 21.) Further, a handful of days before the closure, a SCANA

executive represented that it appeared SCANA’s CEO “ha[d] approval for one unit for sure and . . .

[was] pushing for two.” (ECF No. 207-41 at 9.) At best, and when viewed in the context of the

entire record, such evidence as that listed above and elsewhere in the record shows the mere

possibility, rather than a probability, of the Project’s total shutdown.

       Fluor exercised commercially reasonable judgment in the unique industry of nuclear

power. Only two nuclear reactor construction projects have been started in the last thirty years.

(ECF No. 41 at 6 ¶ 32 (Pennington).) Before its closure, the Project represented a nearly ten billion-

dollar investment in a highly regulated industry involving considerable health and safety concerns.

(See id. at 5 ¶ 26.) SCANA petitioned the South Carolina General Assembly in order to gain

permission to proceed with the Project in 2007. (Id. at 5 ¶ 25.) The General Assembly relatedly

passed legislation that “provided huge incentives to build large-scale power plants.” (Id. ¶ 27.) The

Project was widely seen as necessary due to rising usage in electricity in the state, and customers

were purportedly already paying additional fees to fund the Project. (Id. at 6 ¶ 28-29.) The Project

involved thousands of workers and continued for nearly a decade. Given these facts, it was

reasonable to conclude the Project would continue. The Project’s abrupt closure was “sudden,

dramatic, and unexpected,” even as problems continued to mount. See, e.g., Roquet, 398 F.3d at

590 (“Case law reveals that WARN Act defendants need not show that the circumstances which

caused a plant closing or mass layoff arose from out of the blue to qualify for the exception.”); but

see Smith v. ABC Training Ctr. of Md., Inc., C/A No. JFM-13-306, 2013 WL 3984630, at *6 (D.

Md. Aug. 1, 2013) (explaining the Consolidated Appropriations Act’s passage in 2011 essentially



                                                  43
    0:17-cv-02094-JMC        Date Filed 01/06/21      Entry Number 277         Page 44 of 52




ended the defendant vocational school’s “business model” of enrolling students who were eligible

for federal aid, and the defendant’s subsequent steady financial deterioration and ultimate closure

in 2013 could have thus been reasonably foreseeable, rather than the product of “sudden, dramatic,

and unexpected” business circumstances).

       It is true Fluor knew the Project suffered from troubling, ongoing, and growing issues. In

fact, the Project’s problems were not new, as Fluor was initially hired in 2016 to help remedy the

Project’s status as over budget and behind schedule. (ECF No. 190-1 at 121:4-15; 132:15-133:2

(Pennington stating “[w]e were told we were behind schedule by . . . a lot of people. I mean, from

the day one [sic] I got out there, we were behind schedule”)); (ECF No. 190-14 at 34:13-23); (ECF

No. 190-15 at 1-2 ¶ 5); (ECF No. 190-17 at 4 ¶ 19 (“[T]he Project was way over budget and behind

schedule from ‘day one’ when Fluor showed up in January 2016, and that fact had not changed by

June 1, 2017.”)). But Fluor had no means of knowing SCANA’s tolerance for cost overruns and

scheduling delays. (ECF No. 190-15 at 2-3 ¶¶7-8); (ECF No. 190-17 at 2-4, 6 ¶ 10, 16-17, 25);

(ECF No. 190-27 at 63:15-64:10, 160:17-161:4 (Fluor CEO David Seaton)); (ECF No. 190-28 at

126:5-12); (ECF No. 190-30 at 213:17-215:23; 250:14-19). Indeed, the above facts, lack of other

nuclear construction projects across the nation, intentional lack of communication from SCANA,

and unique nature of the industry made it unreasonable for Fluor to foresee the Project’s sudden

closure. Would the Project close if it was $1 billion or $10 billion over budget? Would it close if

it was one year or ten years behind schedule? Would it simply be scaled back to one reactor, as

opposed to two? Such questions reveal that even if Fluor knew the scope and depth of all the

Project’s problems—which it did not—Fluor would not have necessarily known what such issues

meant for the Project’s future. In fact, as noted above, numerous witnesses indicate the Project’s

total closure was the least likely option going forward. See In re Flexible Flyer Liquidating Tr.,



                                                44
     0:17-cv-02094-JMC        Date Filed 01/06/21       Entry Number 277        Page 45 of 52




511 F. App’x 369, 373 (5th Cir. 2013) (explaining the UBC exception was applicable because

cancellation of the contract at issue was merely a possibility and not a probability).

       Furthermore, job sites within the construction industry are normally wound down for a

period of time before being closed. (See ECF No. 193 at 29.) Such a period could provide sufficient

time in which to issue adequate WARN notice. But here, both the Project’s closure itself and the

manner in which SCANA closed it—without winding down the job site—was reasonably

unforeseeable. Rather than demonstrating willful blindness, Fluor exercised commercially

reasonable business judgment and, along with many other entities associated with the Project,

believed it would continue to progress.

       Plaintiffs’ contention that Fluor should have performed some level of additional

investigation and “pick[ed] up the phone” to ask SCANA about the Project’s future falls flat.

(Unofficial Tr. 117:17-118:9 (Dec. 2, 2020 motions hearing).) Plaintiffs have identified no cases

involving UBC that required or otherwise assigned a duty to an independent contractor to conduct

an ongoing investigation into the continuing health and status of a job site. Instead, the standard

for applying UBC is whether the closure was reasonably unforeseeable. The court looks to the

entire record to determine reasonableness and declines to impose specific requirements necessary

to meet UBC, such as whether a contractor called the principal client or otherwise completed some

threshold level of investigation at some unspecified point during the job at issue.31 Accordingly,

even in the light most favorable to Plaintiffs, the court finds the UBC exception applies to Fluor

regarding SCANA’s shutdown of the Project.



31
   Even if Fluor had further investigated the ongoing issues with the Project, such investigation
was unlikely to bear fruit. Plaintiffs admit SCANA purposefully kept Fluor in the dark regarding
the closure and very few individuals knew of the plans to shut down the Project. (See ECF No. 193
at 22-27.) It seems unlikely a phone call from Fluor would have shed any light into the Project’s
future.
                                                 45
     0:17-cv-02094-JMC        Date Filed 01/06/21       Entry Number 277        Page 46 of 52




       (3) WARN Notice “As Soon As Practicable”

       Lastly, the court finds Fluor provided WARN notice after the Project’s closure as soon as

practicable. See 29 U.S.C. § 2102(b)(3) (employer relying on UBC exception must nonetheless

provide “as much notice as is practicable”); see, e.g., Sides v. Macon Cty. Greyhound Park, Inc.,

725 F.3d 1276, 1284 (11th Cir. 2013) (“[I]t is manifest that a WARN Act employer attempting to

circumvent the 60–day notice requirement must still give some notice in accord with 29 U.S.C. §

2102(b)(3).”). It appears Fluor distributed a non-WARN notice FAQ document to all employees

at the job site on the date of the Project’s closure. (ECF No. 190 at 23-24.) Fluor then mailed its

craft employees WARN notice on August 4, 2017, and sent updated information on August 16,

2017. (Id. at 24-25.) Fluor relatedly sent WARN notice to its salaried employees between August

9-10, 2017.32 (Id. at 25.) (See ECF No. 207 at 35-37.) Such notice was reasonable given the

magnitude of the Project, the presence of thousands of workers at the job site, and the abrupt nature

of the shutdown. Further, all Plaintiffs likely became aware of the Project’s closure on July 31,

2017, when they were ordered to stop working at the job site. Finally, although Fluor’s notice

contained an email address instead of a phone number, this form of notice did not invalidate

compliance with the WARN Act.33 See 20 C.F.R. § 639.7(a)(4) (“It is not the intent of the



32
   It appears Plaintiffs main contention regarding untimely notice is that Fluor should have
provided WARN notice on or before June 1, 2017. (ECF No. 207 at 35-36.) But as discussed
above, Fluor was not required to provide 60-days’ notice due to the UBC exception. Likewise, the
court does not reach whether Fluor’s craft employees were entitled to additional WARN notice
because this contention is premised on the assumption that Fluor should have provided 60 days’
notice under the WARN Act to its employees.
33
   Even if Fluor violated the WARN Act in the process of distributing notice as soon as practicable
after the Project’s closure, such minor violations would fall squarely within the good faith
exception of the WARN Act to avoid an award of damages, particularly given the unique and
unprecedented challenges brought about by the shutdown. 29 U.S.C. § 2104(a)(4); see United
Auto. Aerospace & Agr. Implement Workers of Am., Local 1077 v. Shadyside Stamping Corp., 947
F.2d 946 (6th Cir. 1991) (explaining WARN notice violations were in good faith when such notice
included “much [but not all] of the required information” and unexpected business circumstances
                                                 46
    0:17-cv-02094-JMC           Date Filed 01/06/21         Entry Number 277         Page 47 of 52




regulations, that . . . minor, inadvertent errors are to be the basis for finding a violation of

WARN.”); see also Schmelzer v. Office of Compliance, 155 F.3d 1364 (Fed. Cir. 1998) (lack of

phone number and other defects on notice did not violate the WARN Act and, regardless, plaintiff

suffered no prejudice from the defects). Fluor is therefore not liable under the WARN Act.

    C. Request for Judicial Notice

        The court examines Plaintiffs’ request that the court take judicial notice of certain

documents related to the upcoming criminal guilty plea of SCANA’s former CEO.34 (ECF No.

219.) “Plaintiffs seek to supplement the record with evidence that was not available until after the

close of briefing: the November 24, 2020 Information and Marsh’s Plea Agreement.” (ECF No.

219 at 8.) Plaintiffs stress the Information alleges that

        The defendant KEVIN MARSH along with others known and unknown to the United
        States Attorney, consisting of former SCANA Corporation . . . executives, employees, and
        the lawyers who advised them, led a failed effort to construct two nuclear power generators
        in Fairfield County, South Carolina. As construction problems mounted, costs rose, and
        schedules slipped, the defendant, KEVIN MARSH, and others, hid the true state of the
        project. Through intentional and material misrepresentations and omissions, the
        defendant, KEVIN MARSH, deceived regulators and customers in order to maintain
        financing for the [P]roject and to financially benefit SCANA. The members of the
        conspiracy’s actions and the associated coverup resulted in billions of dollars of loss.

        ...

        Also on or about December 27, 2016, the defendant, KEVIN MARSH, received a separate
        briefing from a senior Toshiba official indicating that Toshiba could not absorb the
        financial hit suggested by new estimates from Westinghouse’s subcontractor for the
        work remaining on the [P]roject. These briefings led the defendant, KEVIN MARSH, to
        believe that there existed a heightened risk of further construction delays. When, on
        December 29, 2016, the ORS requested detailed information from SCANA regarding the


were “rapidly evolving”); Gen. Dynamics Corp., 821 F. Supp. at 1313 (technical WARN Act
violation was a good faith omission).
34
   Plaintiffs frame this supplement as a request to take judicial notice pursuant to Rule 56(e). Rule
56(e) states that “[i]f a party fails to properly support an assertion of fact or fails to properly address
another party’s assertion of fact . . . the court may . . . [1] give [the party] an opportunity to properly
support or address the fact” or “[2] issue any other appropriate order.” Yet as discussed below, the
court declines to take judicial notice of certain documents related to Marsh’s criminal case.
                                                    47
    0:17-cv-02094-JMC          Date Filed 01/06/21       Entry Number 277          Page 48 of 52




       construction schedule for both units, the defendant, KEVIN MARSH, along with his
       coconspirators, withheld the information provided by the officials from Westinghouse and
       Toshiba.

(ECF No. 219 at 5 (emphasis in original) (citing ECF No. 219 at 1,10 ¶¶ 1, 30).)

       Plaintiffs believe “Marsh’s fraud may be relevant to whether the parties were on an equal

footing, and with no disparity between them . . . and whether the actions were truly at arm’s length,

with no evidence of fraud or undue influence . . . and more than the standard one between two

commercial entities negotiating a contract at arm’s length.” (ECF No. 219 at 6-7 (citations and

internal marks omitted).) Specifically, Plaintiffs contend these documents dispute SCANA’s

assurance that its dealings with Fluor were at arms-length because SCANA’s Project closure was

the act “of a single [WARN] employer . . . doing all it could to hide its intent . . . during the period

when WARN notice was required.” (Id. at 3.) Plaintiffs also insist the Information and Plea

Agreement “added to the foreseeability of the [Project’s] shutdown” to Fluor, apparently based

upon the ETC Fluor provided to WEC. (Id. at 3,7.) Lastly, “Plaintiffs submit that the Information

and Marsh’s Plea Agreement would be helpful to the [c]ourt.” (Id.)

       The court is permitted to “take judicial notice on its own.” FED. R. EVID. 201(c). Moreover,

the court may take judicial notice of a fact “that is not subject to reasonable dispute” because it is

either “generally known within the trial court’s territorial jurisdiction” or “can be accurately and

readily determined from sources whose accuracy cannot reasonably be questioned.” FED. R. EVID.

201(b)(1)-(2). The court likewise “may properly take judicial notice of ‘matters of public record’

and other information that, under Federal Rule of Evidence 201, constitute ‘adjudicative facts.’”

Goldfarb v. Mayor & City Council of Balt., 791 F.3d 500, 508-09 (4th Cir. 2015) (citations

omitted). See Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006)

(“We may take judicial notice of court filings and other matters of public record.” (citation



                                                  48
     0:17-cv-02094-JMC            Date Filed 01/06/21   Entry Number 277         Page 49 of 52




omitted)); Colonial Penn Ins. Co. v. Coil, 887 F.2d 1236, 1239 (4th Cir. 1989) (“We note that

‘[t]he most frequent use of judicial notice of ascertainable facts is in noticing the content of court

records.’” (citation omitted)).

       Here, the court declines to take judicial notice of the Information and Plea Agreement.

Marsh has not yet entered a guilty plea in open court and the parties remain unbound by the

proposed Plea Agreement. See United States v. Marsh, No. 3:20-cr-00727-MGL-1, ECF No. 12.

The Information’s allegations and Plea Agreement’s confessions remain subject to reasonable

dispute until Marsh enters a guilty plea that is accepted and approved by the court. While the court

could take judicial notice of the Information as a court record, such notice would amount to

acknowledging an Information was filed alleging Marsh committed fraud. This notice would not

transform the allegations therein into undisputed facts, as Plaintiffs seek.

       Even if the proposed Plea Agreement had been accepted and approved by the court, it does

not appear the criminal conduct outlined therein would alter the outcome of this Order. The

Information and Plea Agreement allege Marsh hid the true extent of problems at the Project from

regulators and customers. (ECF No. 219-1 at 1.) Nowhere do these documents suggest the business

relationship among SCANA, WEC, and Fluor deviated outside of arms-length dealings, such as

while negotiating the EPC Agreement or subsequently complying with contractual requirements

and industry regulations. Further, the Information and Plea Agreement reveal little connection

between Marsh’s allegedly fraudulent deception directed at regulators and customers—including

SCANA “doing all it could to hide its intent” to close the Project—and a theory of WARN liability

that would make it more or less likely that SCANA and Fluor amounted to a single employer.35



35
  Plaintiffs have not previously argued or alleged in the Complaint that Marsh’s purported fraud
was relevant to whether SCANA and Fluor were a single WARN employer. Plaintiffs respond
that, “[b]efore . . . Marsh’s Plea Agreement, Plaintiffs [] refrained from arguments based on
                                                 49
    0:17-cv-02094-JMC         Date Filed 01/06/21      Entry Number 277        Page 50 of 52




(ECF No. 219 at 3.) In fact, as examined supra, it is undisputed SCANA intentionally withheld its

decision to close the Project from Fluor. (ECF No. 205 at 35.) Marsh’s subsequent criminal charges

for deceiving regulators and shareholders, as outlined in the Information and Plea Agreement, do

not appear to shed light on whether SCANA and Fluor were a single employer under the WARN

Act.

       Additionally, the Plea Agreement and Information would not change the outcome of

Fluor’s UBC defense. The information revealed in these documents does not increase the

foreseeability of the Project’s abrupt shutdown to Fluor. Indeed, it appears instead to bolster

Fluor’s claim that the Project’s termination was unforeseeable, as Marsh’s alleged deception

regarding the true state of the Project rose to purportedly criminal behavior. (ECF No. 219-1 at 1.)

Likewise, the Information and Plea Agreement do not name Fluor as a co-conspirator or otherwise

suggest it was culpable in Marsh’s alleged criminal activity. Accordingly, the court declines to

take judicial notice of the Information and Plea Agreement. (ECF No. 219.)

   D. Policy Considerations

       “What kind of company would refuse to give their own workers 60 days’ notice and a

humane chance to rearrange their lives, to try to find a new job, to try to find and make

arrangements to pay their mortgage or to pay their rent?” Pagnattaro, The Perils of Control, 41

AM. BUS. L.J. at 318 (citing 100 CONG. REC. H. 17853 (daily ed. July 13, 1988) (statement of Rep.

Brennan)). This question continues to ring true over thirty years later. SCANA’s manner of

abruptly closing the Project was unprecedented. A multi-billion dollar construction project for




extremely serious charges leveled against SCANA’s executives and the risk of sullying the
reputation of potentially innocent persons. Marsh’s guilty plea, however, establishes as fact that
he, as SCANA’s top executive, conspired to commit fraud by hiding the true state of the project.”
(ECF No. 219 at 6 (internal marks and citation omitted).)
                                                50
    0:17-cv-02094-JMC          Date Filed 01/06/21      Entry Number 277       Page 51 of 52




nuclear reactors was abandoned after nearly a decade of work, and thousands of workers were laid

off essentially overnight with no notice, despite the WARN Act’s explicit intention to prevent

unexpected layoffs.

       But the plain language of the WARN Act simply does not protect against all plant closures

or mass layoffs. As examined supra, numerous cases, albeit in somewhat different circumstances,

have found that no entity was liable under the WARN Act after a closure or layoff, thus leaving

workers and employees dismayed and without recourse under the WARN Act. In other words,

courts have long grappled with policy concerns surrounding the WARN Act’s worker protections

that Plaintiffs trumpet throughout their briefs.

       Yet this court would be creating entirely novel policy concerns if it accepted Plaintiffs’

theory of single employer WARN liability. Plaintiffs’ theory would appear to open a principal

client to single employer liability under the WARN Act with an otherwise wholly independent

contractor simply due to some combination of either a plant closure, particularly if the closure is

abrupt; compliance with regulations in a highly regulated industry; and compliance with a contract

that was negotiated at arms-length. In the court’s view, such a ruling would contort single employer

WARN liability well beyond any precedent or Congressional intent and could have far-reaching

implications on various industries, including construction. Plaintiffs’ square-pegged single

employer theory just does not fit within the particular shape of the WARN Act in this case.

                                          V. CONCLUSION

       Accordingly, the court GRANTS Fluor’s Motion for Summary Judgment (ECF Nos. 189

(Butler); 233 (Pennington)), GRANTS SCANA’s Motion for Summary Judgment (ECF Nos. 192

(Butler); 236 (Pennington)), DENIES Plaintiffs’ Motion for Summary Judgment. (ECF Nos. 191




                                                   51
   0:17-cv-02094-JMC        Date Filed 01/06/21     Entry Number 277       Page 52 of 52




(Butler); 235 (Pennington)), DENIES Plaintiffs’ Request to Supplement (ECF Nos. 219 (Butler);

263 (Pennington)), and DISMISSES the case with prejudice.

       IT IS SO ORDERED.




                                                  United States District Judge
January 6, 2021
Columbia, South Carolina




                                             52
